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     Date of Government Version: 09/14/2010           Source: Department of Energy
     Date Data Arrived at EDR: 10/07/2011             Telephone: 505-845-0011
     Date Made Active in Reports: 03/01/2012          Last EDR Contact: 08/20/2014
     Number of Days to Update: 146                    Next Scheduled EDR Contact: 12/08/2014
                                                      Data Release Frequency: Varies

US MINES: Mines Master Index File
    Contains all mine identification numbers issued for mines active or opened since 1971. The data also includes
    violation information.
     Date of Government Version: 01/30/2014           Source: Department of Labor, Mine Safety and Health Administration
     Date Data Arrived at EDR: 03/05/2014             Telephone: 303-231-5959
     Date Made Active in Reports: 07/15/2014          Last EDR Contact: 09/04/2014
     Number of Days to Update: 132                    Next Scheduled EDR Contact: 12/15/2014
                                                      Data Release Frequency: Semi-Annually

TRIS: Toxic Chemical Release Inventory System
     Toxic Release Inventory System. TRIS identifies facilities which release toxic chemicals to the air, water and
     land in reportable quantities under SARA Title III Section 313.
     Date of Government Version: 12/31/2011           Source: EPA
     Date Data Arrived at EDR: 07/31/2013             Telephone: 202-566-0250
     Date Made Active in Reports: 09/13/2013          Last EDR Contact: 08/29/2014
     Number of Days to Update: 44                     Next Scheduled EDR Contact: 12/08/2014
                                                      Data Release Frequency: Annually

TSCA: Toxic Substances Control Act
    Toxic Substances Control Act. TSCA identifies manufacturers and importers of chemical substances included on the
    TSCA Chemical Substance Inventory list. It includes data on the production volume of these substances by plant
    site.
     Date of Government Version: 12/31/2006           Source: EPA
     Date Data Arrived at EDR: 09/29/2010             Telephone: 202-260-5521
     Date Made Active in Reports: 12/02/2010          Last EDR Contact: 09/26/2014
     Number of Days to Update: 64                     Next Scheduled EDR Contact: 01/05/2015
                                                      Data Release Frequency: Every 4 Years

FTTS: FIFRA/ TSCA Tracking System - FIFRA (Federal Insecticide, Fungicide, & Rodenticide Act)/TSCA (Toxic Substances Control Act)
    FTTS tracks administrative cases and pesticide enforcement actions and compliance activities related to FIFRA,
    TSCA and EPCRA (Emergency Planning and Community Right-to-Know Act). To maintain currency, EDR contacts the
    Agency on a quarterly basis.
     Date of Government Version: 04/09/2009           Source: EPA/Office of Prevention, Pesticides and Toxic Substances
     Date Data Arrived at EDR: 04/16/2009             Telephone: 202-566-1667
     Date Made Active in Reports: 05/11/2009          Last EDR Contact: 08/19/2014
     Number of Days to Update: 25                     Next Scheduled EDR Contact: 12/08/2014
                                                      Data Release Frequency: Quarterly

FTTS INSP: FIFRA/ TSCA Tracking System - FIFRA (Federal Insecticide, Fungicide, & Rodenticide Act)/TSCA (Toxic Substances Control Act)
    A listing of FIFRA/TSCA Tracking System (FTTS) inspections and enforcements.
     Date of Government Version: 04/09/2009           Source: EPA
     Date Data Arrived at EDR: 04/16/2009             Telephone: 202-566-1667
     Date Made Active in Reports: 05/11/2009          Last EDR Contact: 08/19/2014
     Number of Days to Update: 25                     Next Scheduled EDR Contact: 12/08/2014
                                                      Data Release Frequency: Quarterly

HIST FTTS: FIFRA/TSCA Tracking System Administrative Case Listing
     A complete administrative case listing from the FIFRA/TSCA Tracking System (FTTS) for all ten EPA regions. The
     information was obtained from the National Compliance Database (NCDB). NCDB supports the implementation of FIFRA
     (Federal Insecticide, Fungicide, and Rodenticide Act) and TSCA (Toxic Substances Control Act). Some EPA regions
     are now closing out records. Because of that, and the fact that some EPA regions are not providing EPA Headquarters
     with updated records, it was decided to create a HIST FTTS database. It included records that may not be included
     in the newer FTTS database updates. This database is no longer updated.




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     Date of Government Version: 10/19/2006         Source: Environmental Protection Agency
     Date Data Arrived at EDR: 03/01/2007           Telephone: 202-564-2501
     Date Made Active in Reports: 04/10/2007        Last EDR Contact: 12/17/2007
     Number of Days to Update: 40                   Next Scheduled EDR Contact: 03/17/2008
                                                    Data Release Frequency: No Update Planned

HIST FTTS INSP: FIFRA/TSCA Tracking System Inspection & Enforcement Case Listing
     A complete inspection and enforcement case listing from the FIFRA/TSCA Tracking System (FTTS) for all ten EPA
     regions. The information was obtained from the National Compliance Database (NCDB). NCDB supports the implementation
     of FIFRA (Federal Insecticide, Fungicide, and Rodenticide Act) and TSCA (Toxic Substances Control Act). Some
     EPA regions are now closing out records. Because of that, and the fact that some EPA regions are not providing
     EPA Headquarters with updated records, it was decided to create a HIST FTTS database. It included records that
     may not be included in the newer FTTS database updates. This database is no longer updated.
     Date of Government Version: 10/19/2006         Source: Environmental Protection Agency
     Date Data Arrived at EDR: 03/01/2007           Telephone: 202-564-2501
     Date Made Active in Reports: 04/10/2007        Last EDR Contact: 12/17/2008
     Number of Days to Update: 40                   Next Scheduled EDR Contact: 03/17/2008
                                                    Data Release Frequency: No Update Planned

SSTS: Section 7 Tracking Systems
    Section 7 of the Federal Insecticide, Fungicide and Rodenticide Act, as amended (92 Stat. 829) requires all
    registered pesticide-producing establishments to submit a report to the Environmental Protection Agency by March
    1st each year. Each establishment must report the types and amounts of pesticides, active ingredients and devices
    being produced, and those having been produced and sold or distributed in the past year.
     Date of Government Version: 12/31/2009         Source: EPA
     Date Data Arrived at EDR: 12/10/2010           Telephone: 202-564-4203
     Date Made Active in Reports: 02/25/2011        Last EDR Contact: 07/22/2014
     Number of Days to Update: 77                   Next Scheduled EDR Contact: 11/10/2014
                                                    Data Release Frequency: Annually

ICIS: Integrated Compliance Information System
     The Integrated Compliance Information System (ICIS) supports the information needs of the national enforcement
     and compliance program as well as the unique needs of the National Pollutant Discharge Elimination System (NPDES)
     program.
     Date of Government Version: 05/06/2014         Source: Environmental Protection Agency
     Date Data Arrived at EDR: 05/16/2014           Telephone: 202-564-5088
     Date Made Active in Reports: 06/17/2014        Last EDR Contact: 10/09/2014
     Number of Days to Update: 32                   Next Scheduled EDR Contact: 10/27/2014
                                                    Data Release Frequency: Quarterly

PADS: PCB Activity Database System
    PCB Activity Database. PADS Identifies generators, transporters, commercial storers and/or brokers and disposers
    of PCB’s who are required to notify the EPA of such activities.
     Date of Government Version: 06/01/2013         Source: EPA
     Date Data Arrived at EDR: 07/17/2013           Telephone: 202-566-0500
     Date Made Active in Reports: 11/01/2013        Last EDR Contact: 07/18/2014
     Number of Days to Update: 107                  Next Scheduled EDR Contact: 10/27/2014
                                                    Data Release Frequency: Annually

MLTS: Material Licensing Tracking System
    MLTS is maintained by the Nuclear Regulatory Commission and contains a list of approximately 8,100 sites which
    possess or use radioactive materials and which are subject to NRC licensing requirements. To maintain currency,
    EDR contacts the Agency on a quarterly basis.
     Date of Government Version: 07/22/2013         Source: Nuclear Regulatory Commission
     Date Data Arrived at EDR: 08/02/2013           Telephone: 301-415-7169
     Date Made Active in Reports: 11/01/2013        Last EDR Contact: 09/08/2014
     Number of Days to Update: 91                   Next Scheduled EDR Contact: 12/22/2014
                                                    Data Release Frequency: Quarterly




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RADINFO: Radiation Information Database
    The Radiation Information Database (RADINFO) contains information about facilities that are regulated by U.S.
    Environmental Protection Agency (EPA) regulations for radiation and radioactivity.
     Date of Government Version: 07/07/2014         Source: Environmental Protection Agency
     Date Data Arrived at EDR: 07/10/2014           Telephone: 202-343-9775
     Date Made Active in Reports: 07/28/2014        Last EDR Contact: 07/10/2014
     Number of Days to Update: 18                   Next Scheduled EDR Contact: 10/20/2014
                                                    Data Release Frequency: Quarterly

FINDS: Facility Index System/Facility Registry System
    Facility Index System. FINDS contains both facility information and ’pointers’ to other sources that contain more
    detail. EDR includes the following FINDS databases in this report: PCS (Permit Compliance System), AIRS (Aerometric
    Information Retrieval System), DOCKET (Enforcement Docket used to manage and track information on civil judicial
    enforcement cases for all environmental statutes), FURS (Federal Underground Injection Control), C-DOCKET (Criminal
    Docket System used to track criminal enforcement actions for all environmental statutes), FFIS (Federal Facilities
    Information System), STATE (State Environmental Laws and Statutes), and PADS (PCB Activity Data System).
     Date of Government Version: 11/18/2013         Source: EPA
     Date Data Arrived at EDR: 02/27/2014           Telephone: (312) 353-2000
     Date Made Active in Reports: 03/12/2014        Last EDR Contact: 09/10/2014
     Number of Days to Update: 13                   Next Scheduled EDR Contact: 12/22/2014
                                                    Data Release Frequency: Quarterly

RAATS: RCRA Administrative Action Tracking System
    RCRA Administration Action Tracking System. RAATS contains records based on enforcement actions issued under RCRA
    pertaining to major violators and includes administrative and civil actions brought by the EPA. For administration
    actions after September 30, 1995, data entry in the RAATS database was discontinued. EPA will retain a copy of
    the database for historical records. It was necessary to terminate RAATS because a decrease in agency resources
    made it impossible to continue to update the information contained in the database.
     Date of Government Version: 04/17/1995         Source: EPA
     Date Data Arrived at EDR: 07/03/1995           Telephone: 202-564-4104
     Date Made Active in Reports: 08/07/1995        Last EDR Contact: 06/02/2008
     Number of Days to Update: 35                   Next Scheduled EDR Contact: 09/01/2008
                                                    Data Release Frequency: No Update Planned

RMP: Risk Management Plans
    When Congress passed the Clean Air Act Amendments of 1990, it required EPA to publish regulations and guidance
    for chemical accident prevention at facilities using extremely hazardous substances. The Risk Management Program
    Rule (RMP Rule) was written to implement Section 112(r) of these amendments. The rule, which built upon existing
    industry codes and standards, requires companies of all sizes that use certain flammable and toxic substances
    to develop a Risk Management Program, which includes a(n): Hazard assessment that details the potential effects
    of an accidental release, an accident history of the last five years, and an evaluation of worst-case and alternative
    accidental releases; Prevention program that includes safety precautions and maintenance, monitoring, and employee
    training measures; and Emergency response program that spells out emergency health care, employee training measures
    and procedures for informing the public and response agencies (e.g the fire department) should an accident occur.
     Date of Government Version: 04/01/2014         Source: Environmental Protection Agency
     Date Data Arrived at EDR: 05/23/2014           Telephone: 202-564-8600
     Date Made Active in Reports: 07/28/2014        Last EDR Contact: 07/22/2014
     Number of Days to Update: 66                   Next Scheduled EDR Contact: 11/10/2014
                                                    Data Release Frequency: Varies

BRS: Biennial Reporting System
    The Biennial Reporting System is a national system administered by the EPA that collects data on the generation
    and management of hazardous waste. BRS captures detailed data from two groups: Large Quantity Generators (LQG)
    and Treatment, Storage, and Disposal Facilities.




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      Date of Government Version: 12/31/2011             Source: EPA/NTIS
      Date Data Arrived at EDR: 02/26/2013               Telephone: 800-424-9346
      Date Made Active in Reports: 04/19/2013            Last EDR Contact: 08/29/2014
      Number of Days to Update: 52                       Next Scheduled EDR Contact: 12/08/2014
                                                         Data Release Frequency: Biennially

NPDES: A Listing of Active Permits
    A listing of facilities currently active in the state. The types of permits are public, private, federal and state.
      Date of Government Version: 04/16/2014             Source: Illinois EPA
      Date Data Arrived at EDR: 04/18/2014               Telephone: 217-782-0610
      Date Made Active in Reports: 05/20/2014            Last EDR Contact: 10/06/2014
      Number of Days to Update: 32                       Next Scheduled EDR Contact: 01/19/2015
                                                         Data Release Frequency: Varies

UIC: Underground Injection Wells
     Injection wells are used for disposal of fluids by "injection" into the subsurface. The construction of injection
     wells range from very technical designs with twenty-four hour monitoring to simply a hole dug in the ground to
     control runoff. As a result of this diversity, the UIC Program divides injection wells into five different classes.
      Date of Government Version: 06/05/2014             Source: Illinois EPA
      Date Data Arrived at EDR: 06/06/2014               Telephone: 217-782-9878
      Date Made Active in Reports: 06/30/2014            Last EDR Contact: 08/19/2014
      Number of Days to Update: 24                       Next Scheduled EDR Contact: 12/08/2014
                                                         Data Release Frequency: Varies

HWAR: Hazard Waste Annual Report
   Each year, Illinois hazardous-waste generators tell the Illinois EPA the amounts and kinds of hazardous waste
   they produced during the previous year. Generators indicate by code the types of wastes produced and the steps
   they took to manage these wastes. If some or all of these wastes were sent to commercial treatment, storage, and
   disposal facilities (TSDFs), that information and the identity of each receiving facility also are submitted.
   Illinois TSDFs likewise report the types and quantities of wastes received from in-state and out-of-state generators;
   they also report the procedures they used to manage these wastes.
      Date of Government Version: 12/31/2012             Source: Illinois EPA
      Date Data Arrived at EDR: 08/14/2014               Telephone: 217-524-3300
      Date Made Active in Reports: 09/11/2014            Last EDR Contact: 07/30/2014
      Number of Days to Update: 28                       Next Scheduled EDR Contact: 10/27/2014
                                                         Data Release Frequency: Annually

DRYCLEANERS: Illinois Licensed Drycleaners
    Any retail drycleaning facility in Illinois must apply for a license through the Illinois Drycleaner Environmental
    Response Trust Fund. Drycleaner Environmental Response Trust Fund of Illinois.
      Date of Government Version: 08/25/2014             Source: Drycleaner Environmental Response Trust Fund of Illinois
      Date Data Arrived at EDR: 08/26/2014               Telephone: 800-765-4041
      Date Made Active in Reports: 09/08/2014            Last EDR Contact: 08/26/2014
      Number of Days to Update: 13                       Next Scheduled EDR Contact: 12/08/2014
                                                         Data Release Frequency: Varies

IMPDMENT: Surface Impoundment Inventory
    Statewide inventory of industrial, municipal, mining, oil & gas , and large agricultural impoundment. This study
    was conducted by the Illinois EPA to assess potentail for contamination of shallow aquifers. This was a one-time
    study. Although many of the impoundments may no longer be present, the sites may be contaminated.
      Date of Government Version: 12/31/1980             Source: Illinois Waste Management & Research Center
      Date Data Arrived at EDR: 03/08/2002               Telephone: 217-333-8940
      Date Made Active in Reports: 06/03/2002            Last EDR Contact: 02/20/2002
      Number of Days to Update: 87                       Next Scheduled EDR Contact: N/A
                                                         Data Release Frequency: No Update Planned




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AIRS: Air Inventory Listing
     A listing of air permits and emissions information.
     Date of Government Version: 12/31/2013            Source: Illinois EPA
     Date Data Arrived at EDR: 04/18/2014              Telephone: 217-557-0314
     Date Made Active in Reports: 05/13/2014           Last EDR Contact: 10/06/2014
     Number of Days to Update: 25                      Next Scheduled EDR Contact: 01/19/2015
                                                       Data Release Frequency: Varies

TIER 2: Tier 2 Information Listing
     A listing of facilities which store or manufacture hazardous materials and submit a chemical inventory report.
     Date of Government Version: 12/31/2013            Source: Illinois Emergency Management Agency
     Date Data Arrived at EDR: 08/19/2014              Telephone: 217-785-9860
     Date Made Active in Reports: 09/11/2014           Last EDR Contact: 08/19/2014
     Number of Days to Update: 23                      Next Scheduled EDR Contact: 12/01/2014
                                                       Data Release Frequency: Annually

INDIAN RESERV: Indian Reservations
     This map layer portrays Indian administered lands of the United States that have any area equal to or greater
     than 640 acres.
     Date of Government Version: 12/31/2005            Source: USGS
     Date Data Arrived at EDR: 12/08/2006              Telephone: 202-208-3710
     Date Made Active in Reports: 01/11/2007           Last EDR Contact: 07/18/2014
     Number of Days to Update: 34                      Next Scheduled EDR Contact: 10/27/2014
                                                       Data Release Frequency: Semi-Annually

SCRD DRYCLEANERS: State Coalition for Remediation of Drycleaners Listing
    The State Coalition for Remediation of Drycleaners was established in 1998, with support from the U.S. EPA Office
    of Superfund Remediation and Technology Innovation. It is comprised of representatives of states with established
    drycleaner remediation programs. Currently the member states are Alabama, Connecticut, Florida, Illinois, Kansas,
    Minnesota, Missouri, North Carolina, Oregon, South Carolina, Tennessee, Texas, and Wisconsin.
     Date of Government Version: 03/07/2011            Source: Environmental Protection Agency
     Date Data Arrived at EDR: 03/09/2011              Telephone: 615-532-8599
     Date Made Active in Reports: 05/02/2011           Last EDR Contact: 07/25/2014
     Number of Days to Update: 54                      Next Scheduled EDR Contact: 11/03/2014
                                                       Data Release Frequency: Varies

COAL ASH: Coal Ash Site Listing
    A listing of coal ash site lcoations.
     Date of Government Version: 10/01/2011            Source: Illinois EPA
     Date Data Arrived at EDR: 03/09/2012              Telephone: 217-782-1654
     Date Made Active in Reports: 04/10/2012           Last EDR Contact: 09/05/2014
     Number of Days to Update: 32                      Next Scheduled EDR Contact: 12/15/2014
                                                       Data Release Frequency: Annually

LEAD SMELTER 1: Lead Smelter Sites
    A listing of former lead smelter site locations.
     Date of Government Version: 06/04/2014            Source: Environmental Protection Agency
     Date Data Arrived at EDR: 06/12/2014              Telephone: 703-603-8787
     Date Made Active in Reports: 07/28/2014           Last EDR Contact: 10/06/2014
     Number of Days to Update: 46                      Next Scheduled EDR Contact: 01/19/2015
                                                       Data Release Frequency: Varies

LEAD SMELTER 2: Lead Smelter Sites
    A list of several hundred sites in the U.S. where secondary lead smelting was done from 1931and 1964. These sites
    may pose a threat to public health through ingestion or inhalation of contaminated soil or dust




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     Date of Government Version: 04/05/2001           Source: American Journal of Public Health
     Date Data Arrived at EDR: 10/27/2010             Telephone: 703-305-6451
     Date Made Active in Reports: 12/02/2010          Last EDR Contact: 12/02/2009
     Number of Days to Update: 36                     Next Scheduled EDR Contact: N/A
                                                      Data Release Frequency: No Update Planned

PRP: Potentially Responsible Parties
    A listing of verified Potentially Responsible Parties
     Date of Government Version: 04/15/2013           Source: EPA
     Date Data Arrived at EDR: 07/03/2013             Telephone: 202-564-6023
     Date Made Active in Reports: 09/13/2013          Last EDR Contact: 09/30/2014
     Number of Days to Update: 72                     Next Scheduled EDR Contact: 01/12/2015
                                                      Data Release Frequency: Quarterly

FEDLAND: Federal and Indian Lands
    Federally and Indian administrated lands of the United States. Lands included are administrated by: Army Corps
    of Engineers, Bureau of Reclamation, National Wild and Scenic River, National Wildlife Refuge, Public Domain Land,
    Wilderness, Wilderness Study Area, Wildlife Management Area, Bureau of Indian Affairs, Bureau of Land Management,
    Department of Justice, Forest Service, Fish and Wildlife Service, National Park Service.
     Date of Government Version: 12/31/2005           Source: U.S. Geological Survey
     Date Data Arrived at EDR: 02/06/2006             Telephone: 888-275-8747
     Date Made Active in Reports: 01/11/2007          Last EDR Contact: 07/18/2014
     Number of Days to Update: 339                    Next Scheduled EDR Contact: 10/27/2014
                                                      Data Release Frequency: N/A

BOL: Bureau of Land Inventory Database
    Bureau of Land inventory for facility information. Data results are cross-linked with all on-line database system
    applications from IEPA - Bureau of Land as well as USEPA FRS database.
     Date of Government Version: 06/20/2014           Source: Illinois Environmental Protection Agency
     Date Data Arrived at EDR: 06/23/2014             Telephone: 217-785-9407
     Date Made Active in Reports: 07/08/2014          Last EDR Contact: 09/02/2014
     Number of Days to Update: 15                     Next Scheduled EDR Contact: 12/15/2014
                                                      Data Release Frequency: Varies

EPA WATCH LIST: EPA WATCH LIST
    EPA maintains a "Watch List" to facilitate dialogue between EPA, state and local environmental agencies on enforcement
    matters relating to facilities with alleged violations identified as either significant or high priority. Being
    on the Watch List does not mean that the facility has actually violated the law only that an investigation by
    EPA or a state or local environmental agency has led those organizations to allege that an unproven violation
    has in fact occurred. Being on the Watch List does not represent a higher level of concern regarding the alleged
    violations that were detected, but instead indicates cases requiring additional dialogue between EPA, state and
    local agencies - primarily because of the length of time the alleged violation has gone unaddressed or unresolved.
     Date of Government Version: 08/30/2013           Source: Environmental Protection Agency
     Date Data Arrived at EDR: 03/21/2014             Telephone: 617-520-3000
     Date Made Active in Reports: 06/17/2014          Last EDR Contact: 08/15/2014
     Number of Days to Update: 88                     Next Scheduled EDR Contact: 11/24/2014
                                                      Data Release Frequency: Quarterly

PCB TRANSFORMER: PCB Transformer Registration Database
    The database of PCB transformer registrations that includes all PCB registration submittals.
     Date of Government Version: 02/01/2011           Source: Environmental Protection Agency
     Date Data Arrived at EDR: 10/19/2011             Telephone: 202-566-0517
     Date Made Active in Reports: 01/10/2012          Last EDR Contact: 08/01/2014
     Number of Days to Update: 83                     Next Scheduled EDR Contact: 11/10/2014
                                                      Data Release Frequency: Varies




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US AIRS MINOR: Air Facility System Data
     A listing of minor source facilities.
      Date of Government Version: 10/23/2013             Source: EPA
      Date Data Arrived at EDR: 11/06/2013               Telephone: 202-564-2496
      Date Made Active in Reports: 12/06/2013            Last EDR Contact: 09/29/2014
      Number of Days to Update: 30                       Next Scheduled EDR Contact: 01/12/2015
                                                         Data Release Frequency: Annually

US AIRS (AFS): Aerometric Information Retrieval System Facility Subsystem (AFS)
     The database is a sub-system of Aerometric Information Retrieval System (AIRS). AFS contains compliance data
     on air pollution point sources regulated by the U.S. EPA and/or state and local air regulatory agencies. This
     information comes from source reports by various stationary sources of air pollution, such as electric power plants,
     steel mills, factories, and universities, and provides information about the air pollutants they produce. Action,
     air program, air program pollutant, and general level plant data. It is used to track emissions and compliance
     data from industrial plants.
      Date of Government Version: 10/23/2013             Source: EPA
      Date Data Arrived at EDR: 11/06/2013               Telephone: 202-564-2496
      Date Made Active in Reports: 12/06/2013            Last EDR Contact: 09/29/2014
      Number of Days to Update: 30                       Next Scheduled EDR Contact: 01/12/2015
                                                         Data Release Frequency: Annually

COAL ASH DOE: Sleam-Electric Plan Operation Data
    A listing of power plants that store ash in surface ponds.
      Date of Government Version: 12/31/2005             Source: Department of Energy
      Date Data Arrived at EDR: 08/07/2009               Telephone: 202-586-8719
      Date Made Active in Reports: 10/22/2009            Last EDR Contact: 07/18/2014
      Number of Days to Update: 76                       Next Scheduled EDR Contact: 10/27/2014
                                                         Data Release Frequency: Varies

2020 COR ACTION: 2020 Corrective Action Program List
     The EPA has set ambitious goals for the RCRA Corrective Action program by creating the 2020 Corrective Action
     Universe. This RCRA cleanup baseline includes facilities expected to need corrective action. The 2020 universe
     contains a wide variety of sites. Some properties are heavily contaminated while others were contaminated but
     have since been cleaned up. Still others have not been fully investigated yet, and may require little or no remediation.
     Inclusion in the 2020 Universe does not necessarily imply failure on the part of a facility to meet its RCRA obligations.
      Date of Government Version: 11/11/2011             Source: Environmental Protection Agency
      Date Data Arrived at EDR: 05/18/2012               Telephone: 703-308-4044
      Date Made Active in Reports: 05/25/2012            Last EDR Contact: 08/15/2014
      Number of Days to Update: 7                        Next Scheduled EDR Contact: 11/24/2014
                                                         Data Release Frequency: Varies

US FIN ASSUR: Financial Assurance Information
     All owners and operators of facilities that treat, store, or dispose of hazardous waste are required to provide
     proof that they will have sufficient funds to pay for the clean up, closure, and post-closure care of their facilities.
      Date of Government Version: 06/19/2014             Source: Environmental Protection Agency
      Date Data Arrived at EDR: 06/20/2014               Telephone: 202-566-1917
      Date Made Active in Reports: 07/28/2014            Last EDR Contact: 08/14/2014
      Number of Days to Update: 38                       Next Scheduled EDR Contact: 12/01/2014
                                                         Data Release Frequency: Quarterly

Financial Assurance: Financial Assurance Information Listing
     Information for hazardous waste facilities. Financial assurance is intended to ensure that resources are available
     to pay for the cost of closure, post-closure care, and corrective measures if the owner or operator of a regulated
     facility is unable or unwilling to pay.




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     Date of Government Version: 06/13/2014          Source: Illinois Environmental Protection Agency
     Date Data Arrived at EDR: 06/13/2014            Telephone: 217-782-9887
     Date Made Active in Reports: 06/27/2014         Last EDR Contact: 08/19/2014
     Number of Days to Update: 14                    Next Scheduled EDR Contact: 12/08/2014
                                                     Data Release Frequency: Varies

PIMW: Potentially Infectious Medical Waste
    Potentially Infectious Medical Waste (PIMW) is waste generated in connection with the diagnosis, treatment (i.e.,
    provision of medical services), or immunization of human beings or animals; research pertaining to the provision
    of medical services; or the provision or testing of biologicals.
     Date of Government Version: 06/23/2014          Source: Illinois EPA
     Date Data Arrived at EDR: 06/26/2014            Telephone: 217-524-3289
     Date Made Active in Reports: 07/16/2014         Last EDR Contact: 09/22/2014
     Number of Days to Update: 20                    Next Scheduled EDR Contact: 01/05/2015
                                                     Data Release Frequency: Varies

COAL ASH EPA: Coal Combustion Residues Surface Impoundments List
    A listing of coal combustion residues surface impoundments with high hazard potential ratings.
     Date of Government Version: 03/14/2014          Source: Environmental Protection Agency
     Date Data Arrived at EDR: 06/11/2014            Telephone: N/A
     Date Made Active in Reports: 07/28/2014         Last EDR Contact: 09/10/2014
     Number of Days to Update: 47                    Next Scheduled EDR Contact: 12/22/2014
                                                     Data Release Frequency: Varies
EDR HIGH RISK HISTORICAL RECORDS

EDR Exclusive Records

EDR MGP: EDR Proprietary Manufactured Gas Plants
    The EDR Proprietary Manufactured Gas Plant Database includes records of coal gas plants (manufactured gas plants)
    compiled by EDR’s researchers. Manufactured gas sites were used in the United States from the 1800’s to 1950’s
    to produce a gas that could be distributed and used as fuel. These plants used whale oil, rosin, coal, or a mixture
    of coal, oil, and water that also produced a significant amount of waste. Many of the byproducts of the gas production,
    such as coal tar (oily waste containing volatile and non-volatile chemicals), sludges, oils and other compounds
    are potentially hazardous to human health and the environment. The byproduct from this process was frequently
    disposed of directly at the plant site and can remain or spread slowly, serving as a continuous source of soil
    and groundwater contamination.
     Date of Government Version: N/A                 Source: EDR, Inc.
     Date Data Arrived at EDR: N/A                   Telephone: N/A
     Date Made Active in Reports: N/A                Last EDR Contact: N/A
     Number of Days to Update: N/A                   Next Scheduled EDR Contact: N/A
                                                     Data Release Frequency: No Update Planned

EDR US Hist Auto Stat: EDR Exclusive Historic Gas Stations
    EDR has searched selected national collections of business directories and has collected listings of potential
    gas station/filling station/service station sites that were available to EDR researchers. EDR’s review was limited
    to those categories of sources that might, in EDR’s opinion, include gas station/filling station/service station
    establishments. The categories reviewed included, but were not limited to gas, gas station, gasoline station,
    filling station, auto, automobile repair, auto service station, service station, etc. This database falls within
    a category of information EDR classifies as "High Risk Historical Records", or HRHR. EDR’s HRHR effort presents
    unique and sometimes proprietary data about past sites and operations that typically create environmental concerns,
    but may not show up in current government records searches.
     Date of Government Version: N/A                 Source: EDR, Inc.
     Date Data Arrived at EDR: N/A                   Telephone: N/A
     Date Made Active in Reports: N/A                Last EDR Contact: N/A
     Number of Days to Update: N/A                   Next Scheduled EDR Contact: N/A
                                                     Data Release Frequency: Varies




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GOVERNMENT RECORDS SEARCHED / DATA CURRENCY TRACKING


EDR US Hist Cleaners: EDR Exclusive Historic Dry Cleaners
    EDR has searched selected national collections of business directories and has collected listings of potential
    dry cleaner sites that were available to EDR researchers. EDR’s review was limited to those categories of sources
    that might, in EDR’s opinion, include dry cleaning establishments. The categories reviewed included, but were
    not limited to dry cleaners, cleaners, laundry, laundromat, cleaning/laundry, wash & dry etc. This database falls
    within a category of information EDR classifies as "High Risk Historical Records", or HRHR. EDR’s HRHR effort
    presents unique and sometimes proprietary data about past sites and operations that typically create environmental
    concerns, but may not show up in current government records searches.
     Date of Government Version: N/A                 Source: EDR, Inc.
     Date Data Arrived at EDR: N/A                   Telephone: N/A
     Date Made Active in Reports: N/A                Last EDR Contact: N/A
     Number of Days to Update: N/A                   Next Scheduled EDR Contact: N/A
                                                     Data Release Frequency: Varies
EDR RECOVERED GOVERNMENT ARCHIVES

Exclusive Recovered Govt. Archives

RGA LF: Recovered Government Archive Solid Waste Facilities List
    The EDR Recovered Government Archive Landfill database provides a list of landfills derived from historical databases
    and includes many records that no longer appear in current government lists. Compiled from Records formerly available
    from the Illinois Environmental Protection Agency in Illinois.
     Date of Government Version: N/A                 Source: Illinois Environmental Protection Agency
     Date Data Arrived at EDR: 07/01/2013            Telephone: N/A
     Date Made Active in Reports: 01/10/2014         Last EDR Contact: 06/01/2012
     Number of Days to Update: 193                   Next Scheduled EDR Contact: N/A
                                                     Data Release Frequency: Varies

RGA LUST: Recovered Government Archive Leaking Underground Storage Tank
    The EDR Recovered Government Archive Leaking Underground Storage Tank database provides a list of LUST incidents
    derived from historical databases and includes many records that no longer appear in current government lists.
    Compiled from Records formerly available from the Illinois Environmental Protection Agency in Illinois.
     Date of Government Version: N/A                 Source: Illinois Environmental Protection Agency
     Date Data Arrived at EDR: 07/01/2013            Telephone: N/A
     Date Made Active in Reports: 12/30/2013         Last EDR Contact: 06/01/2012
     Number of Days to Update: 182                   Next Scheduled EDR Contact: N/A
                                                     Data Release Frequency: Varies

RGA HWS: Recovered Government Archive State Hazardous Waste Facilities List
    The EDR Recovered Government Archive State Hazardous Waste database provides a list of SHWS incidents derived
    from historical databases and includes many records that no longer appear in current government lists. Compiled
    from Records formerly available from the Department of Natural Resources in Illinois.
     Date of Government Version: N/A                 Source: Department of Natural Resources
     Date Data Arrived at EDR: 07/01/2013            Telephone: N/A
     Date Made Active in Reports: 12/30/2013         Last EDR Contact: 06/01/2012
     Number of Days to Update: 182                   Next Scheduled EDR Contact: N/A
                                                     Data Release Frequency: Varies



OTHER DATABASE(S)

Depending on the geographic area covered by this report, the data provided in these specialty databases may or may not be
complete. For example, the existence of wetlands information data in a specific report does not mean that all wetlands in the
area covered by the report are included. Moreover, the absence of any reported wetlands information does not necessarily
mean that wetlands do not exist in the area covered by the report.




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GOVERNMENT RECORDS SEARCHED / DATA CURRENCY TRACKING


CT MANIFEST: Hazardous Waste Manifest Data
    Facility and manifest data. Manifest is a document that lists and tracks hazardous waste from the generator through
    transporters to a tsd facility.
     Date of Government Version: 07/30/2013           Source: Department of Energy & Environmental Protection
     Date Data Arrived at EDR: 08/19/2013             Telephone: 860-424-3375
     Date Made Active in Reports: 10/03/2013          Last EDR Contact: 08/19/2014
     Number of Days to Update: 45                     Next Scheduled EDR Contact: 12/01/2014
                                                      Data Release Frequency: No Update Planned

NJ MANIFEST: Manifest Information
    Hazardous waste manifest information.
     Date of Government Version: 12/31/2011           Source: Department of Environmental Protection
     Date Data Arrived at EDR: 07/19/2012             Telephone: N/A
     Date Made Active in Reports: 08/28/2012          Last EDR Contact: 07/17/2014
     Number of Days to Update: 40                     Next Scheduled EDR Contact: 10/27/2014
                                                      Data Release Frequency: Annually

NY MANIFEST: Facility and Manifest Data
    Manifest is a document that lists and tracks hazardous waste from the generator through transporters to a TSD
    facility.
     Date of Government Version: 05/01/2014           Source: Department of Environmental Conservation
     Date Data Arrived at EDR: 05/07/2014             Telephone: 518-402-8651
     Date Made Active in Reports: 06/10/2014          Last EDR Contact: 08/07/2014
     Number of Days to Update: 34                     Next Scheduled EDR Contact: 11/17/2014
                                                      Data Release Frequency: Annually

PA MANIFEST: Manifest Information
    Hazardous waste manifest information.
     Date of Government Version: 12/31/2013           Source: Department of Environmental Protection
     Date Data Arrived at EDR: 07/21/2014             Telephone: 717-783-8990
     Date Made Active in Reports: 08/25/2014          Last EDR Contact: 07/18/2014
     Number of Days to Update: 35                     Next Scheduled EDR Contact: 11/03/2014
                                                      Data Release Frequency: Annually

RI MANIFEST: Manifest information
     Hazardous waste manifest information
     Date of Government Version: 12/31/2013           Source: Department of Environmental Management
     Date Data Arrived at EDR: 07/15/2014             Telephone: 401-222-2797
     Date Made Active in Reports: 08/13/2014          Last EDR Contact: 08/26/2014
     Number of Days to Update: 29                     Next Scheduled EDR Contact: 12/08/2014
                                                      Data Release Frequency: Annually

WI MANIFEST: Manifest Information
    Hazardous waste manifest information.
     Date of Government Version: 12/31/2013           Source: Department of Natural Resources
     Date Data Arrived at EDR: 06/20/2014             Telephone: N/A
     Date Made Active in Reports: 08/07/2014          Last EDR Contact: 09/15/2014
     Number of Days to Update: 48                     Next Scheduled EDR Contact: 12/29/2014
                                                      Data Release Frequency: Annually

Oil/Gas Pipelines: This data was obtained by EDR from the USGS in 1994. It is referred to by USGS as GeoData Digital Line Graphs
from 1:100,000-Scale Maps. It was extracted from the transportation category including some oil, but primarily
gas pipelines.

Sensitive Receptors: There are individuals deemed sensitive receptors due to their fragile immune systems and special sensitivity
to environmental discharges. These sensitive receptors typically include the elderly, the sick, and children. While the location of all
sensitive receptors cannot be determined, EDR indicates those buildings and facilities - schools, daycares, hospitals, medical centers,
and nursing homes - where individuals who are sensitive receptors are likely to be located.




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GOVERNMENT RECORDS SEARCHED / DATA CURRENCY TRACKING


  AHA Hospitals:
     Source: American Hospital Association, Inc.
     Telephone: 312-280-5991
     The database includes a listing of hospitals based on the American Hospital Association’s annual survey of hospitals.
  Medical Centers: Provider of Services Listing
     Source: Centers for Medicare & Medicaid Services
     Telephone: 410-786-3000
     A listing of hospitals with Medicare provider number, produced by Centers of Medicare & Medicaid Services,
     a federal agency within the U.S. Department of Health and Human Services.
  Nursing Homes
     Source: National Institutes of Health
     Telephone: 301-594-6248
     Information on Medicare and Medicaid certified nursing homes in the United States.
  Public Schools
     Source: National Center for Education Statistics
     Telephone: 202-502-7300
     The National Center for Education Statistics’ primary database on elementary
     and secondary public education in the United States. It is a comprehensive, annual, national statistical
     database of all public elementary and secondary schools and school districts, which contains data that are
     comparable across all states.
  Private Schools
     Source: National Center for Education Statistics
     Telephone: 202-502-7300
     The National Center for Education Statistics’ primary database on private school locations in the United States.
  Daycare Centers: Homes & Centers Listing
     Source: Department of Children & Family Services
     Telephone: 312-814-4150


Flood Zone Data: This data, available in select counties across the country, was obtained by EDR in 2003 & 2011 from the Federal
Emergency Management Agency (FEMA). Data depicts 100-year and 500-year flood zones as defined by FEMA.

NWI: National Wetlands Inventory. This data, available in select counties across the country, was obtained by EDR
in 2002, 2005 and 2010 from the U.S. Fish and Wildlife Service.


Scanned Digital USGS 7.5’ Topographic Map (DRG)
  Source: United States Geologic Survey
  A digital raster graphic (DRG) is a scanned image of a U.S. Geological Survey topographic map. The map images
  are made by scanning published paper maps on high-resolution scanners. The raster image
  is georeferenced and fit to the Universal Transverse Mercator (UTM) projection.


STREET AND ADDRESS INFORMATION

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                  GEOCHECK ®- PHYSICAL SETTING SOURCE ADDENDUM




TARGET PROPERTY ADDRESS

       WOODLAWN SITE 1094
       6000 SOUTH STONY ISLAND AVENUE
       CHICAGO, IL 60637

TARGET PROPERTY COORDINATES

       Latitude (North):               41.7832 - 41˚ 46’ 59.52’’
       Longitude (West):               87.5855 - 87˚ 35’ 7.80’’
       Universal Tranverse Mercator:   Zone 16
       UTM X (Meters):                 451344.6
       UTM Y (Meters):                 4625658.0
       Elevation:                      589 ft. above sea level


USGS TOPOGRAPHIC MAP

       Target Property Map:            41087-G5 JACKSON PARK, IL IN
       Most Recent Revision:           1998



EDR’s GeoCheck Physical Setting Source Addendum is provided to assist the environmental professional in
forming an opinion about the impact of potential contaminant migration.

Assessment of the impact of contaminant migration generally has two principal investigative components:

 1. Groundwater flow direction, and
 2. Groundwater flow velocity.

Groundwater flow direction may be impacted by surface topography, hydrology, hydrogeology, characteristics
of the soil, and nearby wells. Groundwater flow velocity is generally impacted by the nature of the
geologic strata.




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                                   GEOCHECK® - PHYSICAL SETTING SOURCE SUMMARY


HYDROLOGIC INFORMATION
Surface water can act as a hydrologic barrier to groundwater flow. Such hydrologic information can be used to assist
the environmental professional in forming an opinion about the impact of nearby contaminated properties or, should
contamination exist on the target property, what downgradient sites might be impacted.

Refer to the Physical Setting Source Map following this summary for hydrologic information (major waterways
and bodies of water).

FEMA FLOOD ZONE
                                                                                    FEMA Flood
    Target Property County                                                          Electronic Data
    COOK, IL                                                                        YES - refer to the Overview Map and Detail Map

    Flood Plain Panel at Target Property:                                         17031C - FEMA DFIRM Flood data

    Additional Panels in search area:                                             Not Reported

NATIONAL WETLAND INVENTORY
                                                                                    NWI Electronic
    NWI Quad at Target Property                                                     Data Coverage
    JACKSON PARK                                                                    YES - refer to the Overview Map and Detail Map



HYDROGEOLOGIC INFORMATION
Hydrogeologic information obtained by installation of wells on a specific site can often be an indicator
of groundwater flow direction in the immediate area. Such hydrogeologic information can be used to assist the
environmental professional in forming an opinion about the impact of nearby contaminated properties or, should
contamination exist on the target property, what downgradient sites might be impacted.


             Site-Specific Hydrogeological Data*:
                   Search Radius:                                      1.25 miles
                   Status:                                             Not found



AQUIFLOW®
          Search Radius: 1.000 Mile.

EDR has developed the AQUIFLOW Information System to provide data on the general direction of groundwater
flow at specific points. EDR has reviewed reports submitted by environmental professionals to regulatory
authorities at select sites and has extracted the date of the report, groundwater flow direction as determined
hydrogeologically, and the depth to water table.

                                                            LOCATION                                GENERAL DIRECTION
                      MAP ID                                FROM TP                                 GROUNDWATER FLOW
                      Not Reported




* ©1996 Site−specific hydrogeological data gathered by CERCLIS Alerts, Inc., Bainbridge Island, WA. All rights reserved. All of the information and opinions presented are those of the cited EPA report(s), which were completed under
    a Comprehensive Environmental Response Compensation and Liability Information System (CERCLIS) investigation.
                                                                                                                                                         TC04099563.2r Page A-3
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                    GEOCHECK® - PHYSICAL SETTING SOURCE SUMMARY


GROUNDWATER FLOW VELOCITY INFORMATION
Groundwater flow velocity information for a particular site is best determined by a qualified environmental professional
using site specific geologic and soil strata data. If such data are not reasonably ascertainable, it may be necessary
to rely on other sources of information, including geologic age identification, rock stratigraphic unit and soil
characteristics data collected on nearby properties and regional soil information. In general, contaminant plumes
move more quickly through sandy-gravelly types of soils than silty-clayey types of soils.



GEOLOGIC INFORMATION IN GENERAL AREA OF TARGET PROPERTY
Geologic information can be used by the environmental professional in forming an opinion about the relative speed
at which contaminant migration may be occurring.

ROCK STRATIGRAPHIC UNIT                                           GEOLOGIC AGE IDENTIFICATION

     Era:                   Paleozoic                              Category:      Stratifed Sequence
     System:                Silurian
     Series:                Middle Silurian (Niagoaran)
     Code:                  S2 (decoded above as Era, System & Series)

Geologic Age and Rock Stratigraphic Unit Source: P.G. Schruben, R.E. Arndt and W.J. Bawiec, Geology
of the Conterminous U.S. at 1:2,500,000 Scale - a digital representation of the 1974 P.B. King and H.M. Beikman
Map, USGS Digital Data Series DDS - 11 (1994).

DOMINANT SOIL COMPOSITION IN GENERAL AREA OF TARGET PROPERTY

The U.S. Department of Agriculture’s (USDA) Soil Conservation Service (SCS) leads the National Cooperative Soil
Survey (NCSS) and is responsible for collecting, storing, maintaining and distributing soil survey information
for privately owned lands in the United States. A soil map in a soil survey is a representation of soil patterns
in a landscape. Soil maps for STATSGO are compiled by generalizing more detailed (SSURGO) soil survey maps.
The following information is based on Soil Conservation Service STATSGO data.

Soil Component Name:                   URBANLAND

Soil Surface Texture:                  variable

Hydrologic Group:                      Not reported

Soil Drainage Class:                   Not reported

Hydric Status: Soil does not meet the requirements for a hydric soil.

Corrosion Potential - Uncoated Steel: Not Reported

Depth to Bedrock Min:                  > 0 inches

Depth to Bedrock Max:                  > 0 inches




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                       GEOCHECK® - PHYSICAL SETTING SOURCE SUMMARY



                                                  Soil Layer Information

                  Boundary                                                 Classification
 Layer     Upper         Lower       Soil Texture Class AASHTO Group               Unified Soil       Permeability Soil Reaction
                                                                                                      Rate (in/hr) (pH)

 1          0 inches     60 inches     variable             Not reported           Not reported        Max: 0.00      Max: 0.00
                                                                                                       Min: 0.00      Min: 0.00



OTHER SOIL TYPES IN AREA

Based on Soil Conservation Service STATSGO data, the following additional subordinant soil types may
appear within the general area of target property.

Soil Surface Textures: fine sand
                       fine sandy loam
                       silty clay loam
                       loamy fine sand

Surficial Soil Types:    fine sand
                         fine sandy loam
                         silty clay loam
                         loamy fine sand

Shallow Soil Types:      No Other Soil Types

Deeper Soil Types:       sand
                         fine sand
                         loamy sand
                         silty clay loam




LOCAL / REGIONAL WATER AGENCY RECORDS

EDR Local/Regional Water Agency records provide water well information to assist the environmental
professional in assessing sources that may impact ground water flow direction, and in forming an
opinion about the impact of contaminant migration on nearby drinking water wells.


WELL SEARCH DISTANCE INFORMATION

  DATABASE                   SEARCH DISTANCE (miles)
  Federal USGS               1.000
  Federal FRDS PWS           Nearest PWS within 1 mile
  State Database             1.000


FEDERAL USGS WELL INFORMATION
                                                                     LOCATION
  MAP ID                     WELL ID                                 FROM TP




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                    GEOCHECK® - PHYSICAL SETTING SOURCE SUMMARY


FEDERAL USGS WELL INFORMATION
                                                                       LOCATION
  MAP ID                     WELL ID                                   FROM TP
   9                         USGS40000299196                           1/2 - 1 Mile North


FEDERAL FRDS PUBLIC WATER SUPPLY SYSTEM INFORMATION
                                                                       LOCATION
  MAP ID                     WELL ID                                   FROM TP
  No PWS System Found

  Note: PWS System location is not always the same as well location.


STATE DATABASE WELL INFORMATION
                                                                       LOCATION
  MAP ID                     WELL ID                                   FROM TP
    A1                       ILSG20000206530                           1/8 - 1/4 Mile SSW
    2                        ILSG20000206863                           1/4 - 1/2 Mile East
    A3                       ILSG20000206500                           1/4 - 1/2 Mile SSW
    A4                       P6672                                     1/4 - 1/2 Mile South
    A5                       P6671                                     1/4 - 1/2 Mile South
    6                        P6657                                     1/4 - 1/2 Mile NNE
    7                        ILSG20000207338                           1/4 - 1/2 Mile NNE
    8                        ILSG20000206642                           1/2 - 1 Mile WSW
    10                       ILSG20000207348                           1/2 - 1 Mile NE
    B11                      P6661                                     1/2 - 1 Mile WNW
    B12                      P6658                                     1/2 - 1 Mile WNW
    B13                      P6659                                     1/2 - 1 Mile WNW
    B14                      P6660                                     1/2 - 1 Mile WNW
    15                       ILSG20000207654                           1/2 - 1 Mile NNE
    16                       ILSG20000207717                           1/2 - 1 Mile NNE
    17                       P6670                                     1/2 - 1 Mile SSW
    18                       ILSG20000207776                           1/2 - 1 Mile NNE
    19                       ILSG20000207159                           1/2 - 1 Mile WNW
    20                       ILSG20000208002                           1/2 - 1 Mile NNE




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                   GEOCHECK ® - PHYSICAL SETTING SOURCE MAP FINDINGS


Map ID
Direction
Distance
Elevation                                                          Database       EDR ID Number
A1
SSW                                                                IL WELLS      ILSG20000206530
1/8 - 1/4 Mile
Higher

  Pt api number:         120310273000       Pt status:       WATER
  Pt longitude:          -87.586915
  Pt latitude:           41.780043
  Api number:            120310273000
  Longitude :            -87.586915
  Latitude :             41.780043
  Section:               23                 Twp:             38
  Tdir:                  N                  Rng:             14
  Rdir:                  E                  Farm name:       Askew Art
  Farm num:              Not Reported       Company name:    Wehling Edwin C
  Status:                Water Well         Elevation:       590
  Elevref:               Ground level       Total depth:     383
  Wformation:            Not Reported       Wfmfrom:         0
  Wfmto:                 0                  Pumpgpm:         0




2
East                                                               IL WELLS      ILSG20000206863
1/4 - 1/2 Mile
Lower

  Pt api number:         120312626900       Pt status:       ENG
  Pt longitude:          -87.580411
  Pt latitude:           41.783312
  Api number:            120312626900
  Longitude :            -87.580411
  Latitude :             41.783312
  Section:               13                 Twp:             38
  Tdir:                  N                  Rng:             14
  Rdir:                  E                  Farm name:       Chi Bureau Eng
  Farm num:              39                 Company name:    Not Reported
  Status:                Engineering Test   Elevation:       0
  Elevref:               Not Reported       Total depth:     50
  Wformation:            Not Reported       Wfmfrom:         0
  Wfmto:                 0                  Pumpgpm:         0




A3
SSW                                                                IL WELLS      ILSG20000206500
1/4 - 1/2 Mile
Higher

  Pt api number:         120312657200       Pt status:       ENG
  Pt longitude:          -87.587744
  Pt latitude:           41.77967
  Api number:            120312657200
  Longitude :            -87.587744
  Latitude :             41.77967
  Section:               23                 Twp:             38
  Tdir:                  N                  Rng:             14
  Rdir:                  E                  Farm name:       Jackson Pk Cta
  Farm num:              Jpt                Company name:    Chicago Pub. Works Dept.




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                     GEOCHECK ® - PHYSICAL SETTING SOURCE MAP FINDINGS



  Status:                  Engineering Test                Elevation:                  588
  Elevref:                 Ground level                    Total depth:                25
  Wformation:              Not Reported                    Wfmfrom:                    0
  Wfmto:                   0                               Pumpgpm:                    0




A4
South                                                                                        IL WELLS    P6672
1/4 - 1/2 Mile
Higher

  Well ID:               029222                         Second ID:            Not Reported
  Info Source:           IL Private Water Wells Survey
  Owner:                 STONEY ISLAND FISH CO/ART ASKE
  Permit:                M000772                        Date Drilled:         05/00/1966
  Depth (in feet):       383                            Aquifer Type:         Bedrock
  County Code:           031                            County:               COOK
  Township:              38N                            Range:                14E
  Section:               23                             Plot Location:        1H
  Well Use:              IN                             Well Type:            ASSUMED DRILLED
  Record Type:           Construction Report,Geology,Chemical Analysis,Any other type of record
  Driller:               WEHLING




A5
South                                                                                        IL WELLS    P6671
1/4 - 1/2 Mile
Higher

  Well ID:               024265                          Second ID:          26572
  Info Source:           IL Private Water Wells Survey
  Owner:                 CHICAGO DEPT OF PUBLIC WORKS(T
  Permit:                Not Reported                    Date Drilled:       03/00/1973
  Depth (in feet):       25                              Aquifer Type:       Unconsolidated
  County Code:           031                             County:             COOK
  Township:              38N                             Range:              14E
  Section:               23                              Plot Location:      1H
  Well Use:              IN                              Well Type:          ASSUMED DRILLED
  Record Type:           Construction Report,Geology,Indicates comment in owner’s field something
                         unusual
  Driller:               Not Reported




6
NNE                                                                                          IL WELLS    P6657
1/4 - 1/2 Mile
Lower

  Well ID:               029214                          Second ID:          Not Reported
  Info Source:           IL Private Water Wells Survey
  Owner:                 WINDEMERE HOTEL CO
  Permit:                Not Reported                    Date Drilled:       00/00/0000
  Depth (in feet):       Not Reported                    Aquifer Type:       Not Reported
  County Code:           031                             County:             COOK
  Township:              38N                             Range:              14E
  Section:               13                              Plot Location:      Not Reported
  Well Use:              Commercial                      Well Type:          ASSUMED DRILLED
  Record Type:           Any other type of record
  Driller:               Not Reported




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                   GEOCHECK ® - PHYSICAL SETTING SOURCE MAP FINDINGS


Map ID
Direction
Distance
Elevation                                                                                     Database        EDR ID Number
7
NNE                                                                                           IL WELLS       ILSG20000207338
1/4 - 1/2 Mile
Lower

  Pt api number:                120312627200                    Pt status:              ENG
  Pt longitude:                 -87.580457
  Pt latitude:                  41.788984
  Api number:                   120312627200
  Longitude :                   -87.580457
  Latitude :                    41.788984
  Section:                      13                              Twp:                    38
  Tdir:                         N                               Rng:                    14
  Rdir:                         E                               Farm name:              Chi Bureau Eng
  Farm num:                     62                              Company name:           Not Reported
  Status:                       Engineering Test                Elevation:              587
  Elevref:                      Ground level                    Total depth:            92
  Wformation:                   Not Reported                    Wfmfrom:                0
  Wfmto:                        0                               Pumpgpm:                0




8
WSW                                                                                           IL WELLS       ILSG20000206642
1/2 - 1 Mile
Higher

  Pt api number:                120313034200                    Pt status:              ENG
  Pt longitude:                 -87.595058
  Pt latitude:                  41.781409
  Api number:                   120313034200
  Longitude :                   -87.595058
  Latitude :                    41.781409
  Section:                      14                              Twp:                    38
  Tdir:                         N                               Rng:                    14
  Rdir:                         E                               Farm name:              Metr Sanitary Dist Chicag
  Farm num:                     C82                             Company name:           Continental Drilling Company
  Status:                       Engineering Test                Elevation:              594
  Elevref:                      Ground level                    Total depth:            367
  Wformation:                   Not Reported                    Wfmfrom:                0
  Wfmto:                        0                               Pumpgpm:                0




9
North                                                                                         FED USGS       USGS40000299196
1/2 - 1 Mile
Higher

  Org. Identifier:              USGS-IL
  Formal name:                  USGS Illinois Water Science Center
  Monloc Identifier:            USGS-414728087351001
  Monloc name:                  38N14E-14.1g1
  Monloc type:                  Well
  Monloc desc:                  Not Reported
  Huc code:                     04040002                        Drainagearea value:     Not Reported
  Drainagearea Units:           Not Reported                    Contr b drainagearea:   Not Reported
  Contr b drainagearea units:   Not Reported                    Latitude:               41.7911453
  Longitude:                    -87.5861596                     Sourcemap scale:        24000




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                     GEOCHECK ® - PHYSICAL SETTING SOURCE MAP FINDINGS



  Horiz Acc measure:           1                              Horiz Acc measure units:    minutes
  Horiz Collection method:     Interpolated from map
  Horiz coord refsys:          NAD83                          Vert measure val:           592
  Vert measure units:          feet                           Vertacc measure val:        5
  Vert accmeasure units:       feet
  Vertcollection method:       Unknown
  Vert coord refsys:           NGVD29                         Countrycode:                US
  Aquifername:                 Not Reported
  Formation type:              Not Reported
  Aquifer type:                Not Reported
  Construction date:           18920101                       Welldepth:                  1967
  Welldepth units:             ft                             Wellholedepth:              Not Reported
  Wellholedepth units:         Not Reported

  Ground-water levels, Number of Measurements: 0


10
NE                                                                                              IL WELLS    ILSG20000207348
1/2 - 1 Mile
Lower

  Pt api number:               120312627100                   Pt status:                  ENG
  Pt longitude:                -87.578028
  Pt latitude:                 41.78905
  Api number:                  120312627100
  Longitude :                  -87.578028
  Latitude :                   41.78905
  Section:                     13                             Twp:                        38
  Tdir:                        N                              Rng:                        14
  Rdir:                        E                              Farm name:                  Chi Bureau Eng
  Farm num:                    59                             Company name:               Not Reported
  Status:                      Engineering Test               Elevation:                  588
  Elevref:                     Ground level                   Total depth:                84
  Wformation:                  Not Reported                   Wfmfrom:                    0
  Wfmto:                       0                              Pumpgpm:                    0




B11
WNW                                                                                             IL WELLS    P6661
1/2 - 1 Mile
Higher

  Well ID:                   029217                        Second ID:           Not Reported
  Info Source:               IL Private Water Wells Survey
  Owner:                     INTERNATIONAL HOTEL/DEL PRADO
  Permit:                    Not Reported                  Date Drilled:        00/00/0000
  Depth (in feet):           300                           Aquifer Type:        Not Reported
  County Code:               031                           County:              COOK
  Township:                  38N                           Range:               14E
  Section:                   14                            Plot Location:       Not Reported
  Well Use:                  Commercial                    Well Type:           ASSUMED DRILLED
  Record Type:               Any other type of record
  Driller:                   Not Reported




B12
WNW                                                                                             IL WELLS    P6658
1/2 - 1 Mile
Higher




                                                                                          TC04099563.2r Page A-11
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                     GEOCHECK ® - PHYSICAL SETTING SOURCE MAP FINDINGS



  Well ID:               023851                          Second ID:       Not Reported
  Info Source:           IL Private Water Wells Survey
  Owner:                 CONSUMERS CO
  Permit:                Not Reported                    Date Drilled:    00/00/1892
  Depth (in feet):       2000                            Aquifer Type:    Bedrock
  County Code:           031                             County:          COOK
  Township:              38N                             Range:           14E
  Section:               14                              Plot Location:   Not Reported
  Well Use:              IN                              Well Type:       ASSUMED DRILLED
  Record Type:           Any other type of record
  Driller:               J P MILLER




B13
WNW                                                                                      IL WELLS     P6659
1/2 - 1 Mile
Higher

  Well ID:               029215                          Second ID:       Not Reported
  Info Source:           IL Private Water Wells Survey
  Owner:                 CONSUMERS CO
  Permit:                Not Reported                    Date Drilled:    00/00/1914
  Depth (in feet):       1967                            Aquifer Type:    Bedrock
  County Code:           031                             County:          COOK
  Township:              38N                             Range:           14E
  Section:               14                              Plot Location:   Not Reported
  Well Use:              IN                              Well Type:       ASSUMED DRILLED
  Record Type:           Chemical Analysis
  Driller:               Not Reported




B14
WNW                                                                                      IL WELLS     P6660
1/2 - 1 Mile
Higher

  Well ID:               029216                          Second ID:       Not Reported
  Info Source:           IL Private Water Wells Survey
  Owner:                 ELITE GARAGE
  Permit:                Not Reported                    Date Drilled:    00/00/0000
  Depth (in feet):       40                              Aquifer Type:    Not Reported
  County Code:           031                             County:          COOK
  Township:              38N                             Range:           14E
  Section:               14                              Plot Location:   Not Reported
  Well Use:              Commercial                      Well Type:       ASSUMED DRILLED
  Record Type:           Any other type of record
  Driller:               Not Reported




15
NNE                                                                                      IL WELLS     ILSG20000207654
1/2 - 1 Mile
Lower




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                     GEOCHECK ® - PHYSICAL SETTING SOURCE MAP FINDINGS



  Pt api number:           120312627000                    Pt status:                ENG
  Pt longitude:            -87.580436
  Pt latitude:             41.792611
  Api number:              120312627000
  Longitude :              -87.580436
  Latitude :               41.792611
  Section:                 13                              Twp:                      38
  Tdir:                    N                               Rng:                      14
  Rdir:                    E                               Farm name:                Chi Bureau Eng
  Farm num:                52                              Company name:             Not Reported
  Status:                  Engineering Test                Elevation:                585
  Elevref:                 Ground level                    Total depth:              104
  Wformation:              Not Reported                    Wfmfrom:                  0
  Wfmto:                   0                               Pumpgpm:                  0




16
NNE                                                                                        IL WELLS        ILSG20000207717
1/2 - 1 Mile
Lower

  Pt api number:           120312867400                    Pt status:                ENG
  Pt longitude:            -87.579092
  Pt latitude:             41.793313
  Api number:              120312867400
  Longitude :              -87.579092
  Latitude :               41.793313
  Section:                 13                              Twp:                      38
  Tdir:                    N                               Rng:                      14
  Rdir:                    E                               Farm name:                57 Dr. Br/Lk Shore Dr.
  Farm num:                2                               Company name:             IL Dept. of Transportation
  Status:                  Engineering Test                Elevation:                0
  Elevref:                 Not Reported                    Total depth:              27
  Wformation:              Not Reported                    Wfmfrom:                  0
  Wfmto:                   0                               Pumpgpm:                  0




17
SSW                                                                                        IL WELLS        P6670
1/2 - 1 Mile
Higher

  Well ID:               029221                          Second ID:        Not Reported
  Info Source:           IL Private Water Wells Survey
  Owner:                 WOODLAWN LAUNDRY
  Permit:                Not Reported                    Date Drilled:     00/00/1905
  Depth (in feet):       350                             Aquifer Type:     Bedrock
  County Code:           031                             County:           COOK
  Township:              38N                             Range:            14E
  Section:               23                              Plot Location:    Not Reported
  Well Use:              Commercial                      Well Type:        ASSUMED DRILLED
  Record Type:           Any other type of record
  Driller:               Not Reported




18
NNE                                                                                        IL WELLS        ILSG20000207776
1/2 - 1 Mile
Lower




                                                                                     TC04099563.2r Page A-13
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                   GEOCHECK ® - PHYSICAL SETTING SOURCE MAP FINDINGS



  Pt api number:         120312656800                 Pt status:      ENG
  Pt longitude:          -87.577877
  Pt latitude:           41.794215
  Api number:            120312656800
  Longitude :            -87.577877
  Latitude :             41.794215
  Section:               13                           Twp:            38
  Tdir:                  N                            Rng:            14
  Rdir:                  E                            Farm name:      57Th St Beachwall
  Farm num:              1                            Company name:   Chicago Pub. Works Dept.
  Status:                Engineering Test             Elevation:      0
  Elevref:               Not Reported                 Total depth:    93
  Wformation:            Not Reported                 Wfmfrom:        0
  Wfmto:                 0                            Pumpgpm:        0




19
WNW                                                                         IL WELLS      ILSG20000207159
1/2 - 1 Mile
Higher

  Pt api number:         120313594500                 Pt status:      MONIT
  Pt longitude:          -87.602417
  Pt latitude:           41.786777
  Api number:            120313594500
  Longitude :            -87.602417
  Latitude :             41.786777
  Section:               14                           Twp:            38
  Tdir:                  N                            Rng:            14
  Rdir:                  E                            Farm name:      Coach USA
  Farm num:              MW-8                         Company name:   Transhield Underground Service
  Status:                Water Well Monitoring Well   Elevation:      0
  Elevref:               Not Reported                 Total depth:    14
  Wformation:            Not Reported                 Wfmfrom:        0
  Wfmto:                 0                            Pumpgpm:        0




20
NNE                                                                         IL WELLS      ILSG20000208002
1/2 - 1 Mile
Higher

  Pt api number:         120312626800                 Pt status:      ENG
  Pt longitude:          -87.578033
  Pt latitude:           41.796298
  Api number:            120312626800
  Longitude :            -87.578033
  Latitude :             41.796298
  Section:               12                           Twp:            38
  Tdir:                  N                            Rng:            14
  Rdir:                  E                            Farm name:      Chi Bureau Eng
  Farm num:              45                           Company name:   Not Reported
  Status:                Engineering Test             Elevation:      591
  Elevref:               Ground level                 Total depth:    113
  Wformation:            Not Reported                 Wfmfrom:        0
  Wfmto:                 0                            Pumpgpm:        0




                                                                      TC04099563.2r Page A-14
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                  GEOCHECK ® - PHYSICAL SETTING SOURCE MAP FINDINGS
                                        RADON

AREA RADON INFORMATION

Federal EPA Radon Zone for COOK County: 2
   Note: Zone 1 indoor average level > 4 pCi/L.
       : Zone 2 indoor average level >= 2 pCi/L and <= 4 pCi/L.
       : Zone 3 indoor average level < 2 pCi/L.


Federal Area Radon Information for COOK COUNTY, IL
Number of sites tested: 82
Area                         Average Activity     % <4 pCi/L      % 4-20 pCi/L      % >20 pCi/L

Living Area - 1st Floor      1.273 pCi/L          96%             4%                0%
Living Area - 2nd Floor      0.900 pCi/L          100%            0%                0%
Basement                     1.740 pCi/L          93%             7%                0%




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              PHYSICAL SETTING SOURCE RECORDS SEARCHED

TOPOGRAPHIC INFORMATION

USGS 7.5’ Digital Elevation Model (DEM)
  Source: United States Geologic Survey
  EDR acquired the USGS 7.5’ Digital Elevation Model in 2002 and updated it in 2006. The 7.5 minute DEM corresponds
  to the USGS 1:24,000- and 1:25,000-scale topographic quadrangle maps. The DEM provides elevation data
  with consistent elevation units and projection.

Scanned Digital USGS 7.5’ Topographic Map (DRG)
  Source: United States Geologic Survey
  A digital raster graphic (DRG) is a scanned image of a U.S. Geological Survey topographic map. The map images
  are made by scanning published paper maps on high-resolution scanners. The raster image
  is georeferenced and fit to the Universal Transverse Mercator (UTM) projection.


HYDROLOGIC INFORMATION

Flood Zone Data: This data, available in select counties across the country, was obtained by EDR in 2003 & 2011 from the Federal
Emergency Management Agency (FEMA). Data depicts 100-year and 500-year flood zones as defined by FEMA.

NWI: National Wetlands Inventory. This data, available in select counties across the country, was obtained by EDR
in 2002, 2005 and 2010 from the U.S. Fish and Wildlife Service.


HYDROGEOLOGIC INFORMATION

AQUIFLOW R Information System
  Source: EDR proprietary database of groundwater flow information
  EDR has developed the AQUIFLOW Information System (AIS) to provide data on the general direction of groundwater
    flow at specific points. EDR has reviewed reports submitted to regulatory authorities at select sites and has
    extracted the date of the report, hydrogeologically determined groundwater flow direction and depth to water table
    information.


GEOLOGIC INFORMATION

Geologic Age and Rock Stratigraphic Unit
  Source: P.G. Schruben, R.E. Arndt and W.J. Bawiec, Geology of the Conterminous U.S. at 1:2,500,000 Scale - A digital
  representation of the 1974 P.B. King and H.M. Be kman Map, USGS Digital Data Series DDS - 11 (1994).

STATSGO: State Soil Geographic Database
  Source: Department of Agriculture, Natural Resources Conservation Services
  The U.S. Department of Agriculture’s (USDA) Natural Resources Conservation Service (NRCS) leads the national
  Conservation Soil Survey (NCSS) and is responsible for collecting, storing, maintaining and distributing soil
  survey information for privately owned lands in the United States. A soil map in a soil survey is a representation
  of soil patterns in a landscape. Soil maps for STATSGO are compiled by generalizing more detailed (SSURGO)
  soil survey maps.

SSURGO: Soil Survey Geographic Database
  Source: Department of Agriculture, Natural Resources Conservation Services (NRCS)
  Telephone: 800-672-5559
  SSURGO is the most detailed level of mapping done by the Natural Resources Conservation Services, mapping
  scales generally range from 1:12,000 to 1:63,360. Field mapping methods using national standards are used to
  construct the soil maps in the Soil Survey Geographic (SSURGO) database. SSURGO digitizing duplicates the
  original soil survey maps. This level of mapping is designed for use by landowners, townships and county
  natural resource planning and management.




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              PHYSICAL SETTING SOURCE RECORDS SEARCHED

LOCAL / REGIONAL WATER AGENCY RECORDS

FEDERAL WATER WELLS

PWS: Public Water Systems
  Source: EPA/Office of Drinking Water
  Telephone: 202-564-3750
  Public Water System data from the Federal Reporting Data System. A PWS is any water system which provides water to at
    least 25 people for at least 60 days annually. PWSs provide water from wells, rivers and other sources.

PWS ENF: Public Water Systems Violation and Enforcement Data
  Source: EPA/Office of Drinking Water
  Telephone: 202-564-3750
  Violation and Enforcement data for Public Water Systems from the Safe Drinking Water Information System (SDWIS) after
     August 1995. Prior to August 1995, the data came from the Federal Reporting Data System (FRDS).

USGS Water Wells: USGS National Water Inventory System (NWIS)
This database contains descriptive information on sites where the USGS collects or has collected data on surface
water and/or groundwater. The groundwater data includes information on wells, springs, and other sources of groundwater.

STATE RECORDS

Water Well Records
  Source: Illinois Geological Survey
  Telephone: 217-333-4747

Illinois Private Well Database and PICS (Public, Industrial, Commercial Survey)
     Source: Illinois State Water Survey
     Telephone: 217-333-9043

Water Well Location Information
  Source: Illinois Environmental Protection Agency
  Telephone: 217-782-0810


OTHER STATE DATABASE INFORMATION


RADON

State Database: IL Radon
   Source: Department of Nuclear Safety
   Telephone: 217-785-9958
   County Radon Results

Area Radon Information
  Source: USGS
  Telephone: 703-356-4020
  The National Radon Database has been developed by the U.S. Environmental Protection Agency
  (USEPA) and is a compilation of the EPA/State Residential Radon Survey and the National Residential Radon Survey.
  The study covers the years 1986 - 1992. Where necessary data has been supplemented by information collected at
  private sources such as universities and research institutions.

EPA Radon Zones
  Source: EPA
  Telephone: 703-356-4020
  Sections 307 & 309 of IRAA directed EPA to list and identify areas of U.S. with the potential for elevated indoor
  radon levels.


OTHER

Airport Landing Facilities:   Private and public use landing facilities
   Source: Federal Aviation Administration, 800-457-6656

Epicenters: World earthquake epicenters, Richter 5 or greater
  Source: Department of Commerce, National Oceanic and Atmospheric Administration

Earthquake Fault Lines:     The fault lines displayed on EDR’s Topographic map are digitized quaternary faultlines, prepared
in 1975 by the United State Geological Survey                                                                     TC04099563.2r   Page PSGR-2
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              PHYSICAL SETTING SOURCE RECORDS SEARCHED


STREET AND ADDRESS INFORMATION

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Barack Obama Presidential Library – Woodlawn Site, University of Chicago


     EXECUTIVE SUMMARY

     Sam Schwartz Engineering, DPC (SSE) conducted a traffic impact study for the proposed
     University of Chicago Woodlawn – Jackson Park site for the Barack Obama Presidential Library
     (OPL). Existing and future conditions in the study area have been described, analyzed, and
     evaluated with respect to transportation operations and the impact of the proposed development.

     The location of the OPL Woodlawn site is easy to access for all visitors and staff. It is located
     adjacent to Lake Shore Drive, approximately 2.25 miles from the Dan Ryan Expressway (Dan
     Ryan), and adjacent to the Metra Electric Line.

     The study analyzed the following major intersections within the proximity of the site:

            57th Street/Lake Shore Drive
            Midway Plaisance/Cornell Avenue
            63rd Street/Dan Ryan On and Off Ramps
            63rd Street/Stony Island Avenue
            Hayes Drive/Cornell Avenue
            65th Place/Cornell Avenue/Stony Island Avenue

     63rd Street (74’ right-of-way) and Stony Island Avenue (66’ right-of-way) both provide one lane of
     travel in each direction, in the vicinity of the site, and on-street parking. Stony Island Avenue
     widens to a 200’ right-of-way further to the south and provides up to four lanes of travel in each
     direction. Both have significant vehicular capacity on 63rd Street and Stony Island Avenue; traffic
     currently moves along both streets without much delay and additional traffic generated by the OPL
     can be accommodated without adding significant delay to any of the study intersections. Overall,
     vehicles will be able to easily access the site and the OPL will not have a significant impact on the
     traffic operations in the neighborhoods.

     The following details the recommendations for parking, access, and improvements to the safety and
     operations of multi-modal access.

            The intersection of Cornell Avenue (OPL Access) and Hayes Drive provides an ideal access
             point for vehicular traffic. Under this scenario, the OPL Access should be terminated before
             it reaches Midway Plaisance. The new design of the OPL Access should provide one lane
             of travel in each direction and be 24 feet in width. Cornell Avenue is currently used as a
             bypass of Lake Shore Drive for local traffic and does not fit within the Chicago grid. It has
             moderately low traffic volumes and very high speeds. Vacating Cornell Avenue will not only
             potentially reduce the amount of asphalt within Jackson Park, but it will also significantly
             improve the safety within Jackson Park.

            With the closure of Cornell Avenue south of Midway Plaisance eastbound, Cornell Avenue
             should become one-way northbound between the Midway Plaisance eastbound and
             westbound intersections and the traffic control signal removed at the Midway Plaisance


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Barack Obama Presidential Library – Woodlawn Site, University of Chicago


             eastbound intersection. This will reduce the amount of pavement within Jackson Park and
             provide safety improvements. The closure of Cornell Avenue would also necessitate the
             removal of the traffic control signal and geometric modifications at Stony Island Avenue/65th
             Place.

            Minor traffic signal timing/phasing modifications should be implemented at the study area
             intersections, as appropriate, to provide optimal operations and to facilitate traffic to and
             from the OPL.

            Prohibiting access on Stony Island Avenue will allow for an excellent pedestrian experience
             along the corridor and improve operations of through traffic on Stony Island Avenue.

            Service access and secure access can be provided from Stony Island Avenue or Cornell
             Avenue.

            It is estimated that the site will generate a peak parking demand of 444 vehicular parking
             spaces on the 30th most popular day (typical design day). It is recommended that all parking
             be provided within the site.

            There are a number of options to accommodate any overflow parking for special events,
             including the Museum of Science and Industry, surface lots owned by the University of
             Chicago in the area, and the Apostolic Church of God. There is also on-street parking in the
             area.

            It is estimated that the site will generate a peak bus demand of 5 buses on the 30th most
             popular day (typical design day). It is recommended that buses be staged on one of the
             surface lots owned by the University of Chicago in the area or the Apostolic Church of God.

            A staff member should be given the responsibility of coordinating all transportation,
             particularly for special events.

            The 59th Street Metra station should be renamed 59th Street – Obama Library. The station
             should be improved as a front door to the library, similar to the Metra Electric stations
             located to the north serving the Hyde Park neighborhood and the University of Chicago.
             Wayfinding should be provided to guide visitors to the site.

            The streets within the park were originally designed to allow horse and buggies to easily
             traverse through them. This design provided excess space for modern vehicles, which has
             led to vehicles using these streets to speed through the park. The following are the
             recommended geometrics for each internal street:

                 o   Richards Drive, between Marquette Drive and Hayes Drive: Reduce lane width to
                     10.5 feet and provide parking on both sides of the street. This would reduce the
                     street by 5 feet in width and remove approximately 0.15 acres of asphalt. The
                     “ramps” to Richards Drive from Marquette Drive should be removed and a standard
                     T-intersection should be installed.



                                                                                                    Page 2
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Barack Obama Presidential Library – Woodlawn Site, University of Chicago


                 o   Marquette Drive, between Stony Island Avenue and South Shore Drive: Reduce
                     lane width to 10.5 feet and provide parking on both sides of the street. This would
                     reduce the street by 5 feet in width and remove approximately 0.35 acres of asphalt.

                 o   Hayes Drive, between OPL Access and South Shore Drive: Reduce lane width to
                     10.5 feet and provide parking on both sides of the street. This would reduce the
                     street by 13 feet in width and remove approximately 0.80 acres of asphalt. The
                     intersection of Hayes Drive and Richards Drive should be converted to a standard
                     roundabout.

            Consideration should be given to developing a streetscape for 63rd Street between the
             Cottage Grove Avenue and the OPL.

            The intersection of 60th Street /Stony Island Avenue should be modified to provide more
             safety and priority for pedestrians. This includes reducing the turning radii on Stony Island
             Avenue, providing ADA-compliant curb ramps, bumpouts, and leading pedestrian intervals.

            The Lakefront Trail is the crown jewel of Chicago’s bicycle network. It is recommended that
             a shared use path be designated within Jackson Park that connects the Lakefront Trail to
             the OPL. This should connect to the future bicycle facility on Stony Island Avenue.




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Barack Obama Presidential Library – Woodlawn Site, University of Chicago


     INTRODUCTION

     Sam Schwartz Engineering, DPC (SSE) was retained by the University of Chicago to conduct a
     traffic impact study for the proposed Woodlawn site for the Barack Obama Presidential Library
     (OPL). The subject site is located at the western edge of Jackson Park and extends from Midway
     Plaisance (eastbound) to 63rd Street between Stony Island Avenue and Cornell Avenue. The
     Woodlawn site location is illustrated on Figure 1.

     The following report presents and documents SSE’s methodology, data collection, analyses, and
     identifies improvements, as necessary, to mitigate impacts the development’s traffic may have on the
     adjacent roadway network.

     As proposed, the project consists of the construction of the Library building and parking facilities as
     well as other improvements to facilitate access. Access to the development will be provided via
     Cornell Avenue.

     The purpose of this study is to fulfill the criteria for accessibility, circulation and parking set forth by the
     Barack Obama Foundation. The objectives of the study are as follows:
         Analyze the existing traffic, parking and multi-modal operations in the study area.
         Estimate the new traffic generated by the proposed Presidential Library.
         Analyze the future traffic, parking and multi-modal operations in the study area.
         Analyze the future site access and circulation.
         Provide mitigation strategies and recommendations related to traffic, parking and multi-modal
            operations, site access and circulations, as well as to the management of traffic during
            construction.

     The study area, with the study intersections identified, is shown on Figure 2.




                                                                                                              Page 4
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     EXISTING CONDITIONS

     This section of the study provides a description of the OPL Woodlawn site, the adjacent land uses, a
     summary of the data collection process and an analysis of the existing transportation conditions.

     Site Location
     The Woodlawn site is located along the western edge of Jackson Park and extends from Midway
     Plaisance (eastbound) to 63rd Street between Stony Island Avenue and Cornell Avenue. It is
     located between two stops on the Metra Electric Line and is also easily accessible by automobile
     via Lake Shore Drive, the Chicago Skyway, and the Day Ryan Expressway.

     The site is owned and managed by the Chicago Park District and currently contains several
     recreational fields. To optimize traffic operations, it was assumed that access to the Woodlawn site
     would be via the intersection of Cornell Avenue (OPL Access) and Hayes Drive, with Cornell
     Avenue being vacated between Midway Plaisance (eastbound) and Stony Island Avenue.

     Proposed Presidential Library Use and Operation
     The Barack Obama Presidential Library will serve as a repository of the historical documents
     related to Barack Obama, the 44th President of the United States of America. The program
     elements which will most likely generate most of the public access include exhibits, displays, and
     souvenir shops. The building footprint is estimated at approximately 200,000 square feet. It is
     anticipated the typical hours of operation will be between 9:00 AM and 5:00 PM and the OPL will be
     closed on major holidays such as Thanksgiving, Christmas, and New Year’s Day. An estimated
     800,000 visitors will come to the OPL each year, of which approximately 350,000 are expected to
     be from outside the Chicagoland area.

     Area Land Use
     The Woodlawn site is mainly surrounded by other parts of Jackson Park, which includes an 18-hole
     golf course. The exception is to the west of the site, where the South Side YMCA, the Hyde Park
     Academy High School, and residential uses are located, as well as a few vacant parcels.

     Existing Area Roadway System
     Unless otherwise noted, all streets described below are under the jurisdiction of the Chicago
     Department of Transportation (CDOT). Roads are described in the study area from west to east,
     then from north to south.

     63rd Street is an east-west, two-lane, minor arterial roadway, with on-street parking provided on
     both sides of the road in the vicinity of the site. At its signalized intersection with Yale Avenue (Dan
     Ryan Eastbound On and Off Ramps), 63rd Street provides two through lanes with shared turning
     movements in both directions. The Yale Street/Dan Ryan Eastbound Off-Ramp provides three
     through lanes with shared turning movements, providing one-way travel in the southbound
     direction.




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     At its signalized intersection with Wentworth Avenue (Dan Ryan Westbound On Ramp), 63rd Street
     provides a left-turn lane and two through lanes in the eastbound direction and a through and shared
     through/right-turn lane in the westbound direction. The Wentworth Avenue northbound approach
     provides a left-turn, through, and shared through/right-turn lane, providing one-way travel in the
     northbound direction.

     The 63rd Street eastbound and westbound approaches at its signalized intersection with Stony
     Island Avenue each provide a left-turn, through, and right-turn lane. At its signalized intersection
     with Cornell Avenue, the 63rd Street eastbound and westbound approaches each provide two lanes
     with shared turning maneuvers.

     Stony Island Avenue is a two-lane, minor arterial roadway, with on-street parking provided on both
     sides of the street in the site vicinity. At its signalized intersection with 63rd Street, Stony Island
     Avenue provides a left-turn, a through, and a shared through/right-turn lane in both directions. At its
     signalized intersection with Cornell Avenue/65th Place, Stony Island Avenue provides three through
     lanes and a shared through/right-turn lane in the southbound direction and a shared through/left-
     turn lane and a through lane in the northbound direction. Cornell Avenue and 65th Place are one-
     way in the westbound direction at their intersection with Stony Island Avenue. Stony Island Avenue
     is under the jurisdiction of CDOT north of Cornell Avenue/65th Place and the Illinois Department of
     Transportation (IDOT) to the south. It is designated as a Strategic Regional Arterial (SRA). The
     SRA designation controls roadway access and signal installation so as to facilitate efficient and safe
     transportation.

     Cornell Avenue is a six-lane, median divided principal arterial roadway, adjacent to the site, with
     on-street parking. Cornell Avenue is currently used as a bypass of Lake Shore Drive for local
     traffic. At its signalized intersection with Stony Island Avenue/65th Place, Cornell Avenue provides
     three lanes with shared turning movements in the westbound direction. At its signalized
     intersection with Midway Plaisance eastbound, Cornell Avenue provides two through lanes in the
     northbound direction and three through lanes in the southbound direction. Cornell Avenue
     becomes 57th Street north of Midway Plaisance, approximately 1/3-mile west of Lake Shore Drive.
     At its signalized intersection with Lake Shore Drive, 57th Street provides three left-turn lanes and a
     right-turn lane in the eastbound direction. Cornell Avenue/57th Street is under the jurisdiction of
     IDOT and is designated as an SRA.

     Midway Plaisance is a linear park with one-way couplets (eastbound on the south and westbound
     on the north) running along the outside of the park and serves as a green connection between Lake
     Michigan and Jackson Park to the east and Washington Park to the west. Midway Plaisance is a
     principal arterial roadway, providing two travel lanes in each direction and on-street parking on both
     sides of the street. At its signalized intersection with Cornell Avenue, Midway Plaisance eastbound
     provides dual left- and dual right-turn lanes.

     Lake Shore Drive (US Route 41) is a six-lane, divided principal arterial roadway, designated as a
     SRA to the north of 57th Street. South of 57th Street, Lake Shore Drive provides three through lanes



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     in the northbound direction and two through lanes in the southbound direction and is classified as a
     minor arterial. On-street parking is prohibited along Lake Shore Drive within the study area. At its
     signalized intersection with 57th Street, Lake Shore Drive provides a left-turn lane and three through
     lanes in the northbound direction and two through lanes and a right-turn lane in the southbound
     direction. Left-turn movements are prohibited from northbound Lake Shore Drive onto westbound
     57th Street from 3 to 7 PM, Monday through Friday. Lake Shore Drive is under the jurisdiction of
     IDOT.

     Pedestrian/Bike Facilities
     Sidewalks are provided along all study roadways on both sides of the street, with the exception of
     the roadways abutting Jackson Park, where multi-purpose off-street paths are provided, as well as
     along Lake Shore Drive – the Lakefront Trail. Crosswalks with pedestrian countdown signals are
     maintained along all four legs of the 63rd Street intersections with Stony Island Avenue and Cornell
     Avenue/Hayes Drive. Crosswalks are provided on the west, north, and south legs of the 63rd Street
     and Yale Avenue (Dan Ryan eastbound ramps) intersection; the north, south, and east legs of the
     63rd Street and Wentworth Avenue (Dan Ryan westbound on ramp); the south and west legs of the
     Cornell Avenue and Midway Plaisance eastbound intersection; and the west, north, and east legs of
     the Stony Island Avenue at Cornell Avenue and 65th Place intersection.

     The 18-mile Lakefront Trail for bicycles runs along the north side of 71st/E South Shore Drive, along
     the east side of South Shore Drive, and along the north side of Marquette Drive. An on-street bike
     route is planned along Stony Island Avenue south of 67th Street and north of 63rd Street. Divvy
     docking stations are provided at the 55th/56th/57th Street Metra Electric Line station, approximately
     ½-mile north of the site, and at Ellis Avenue and 58th Street, approximately 1 mile west of the site.

     Existing Transit Service
     The proposed site is well served by public transportation. The Chicago Transit Authority (CTA)
     operates multiple existing bus routes in the vicinity of the proposed Woodlawn site, as listed below:
         #2 - Hyde Park Express
         #6 - Jackson Park Express
         #15 - Jeffery Local
         #26 - South Shore Express
         #28 - Stony Island
         #59 – 59th / 61st
         #63 – 63rd
         #170 – U. of Chicago / Midway
         #171 – U. of Chicago / Hyde Park
         #172 – U. of Chicago / Kenwood

     The Metra Electric South Shore Line is easily accessible to the Woodlawn site, with stations provided
     within two to three blocks (less than 0.2 of a mile) to the west of the site at 63rd Street and at 59th
     Street. In addition, CTA rail service is easily accessible via bus or a short bicycle ride at 63rd Street




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     and Cottage Grove Avenue (Green Line), approximately 1 mile to the west of the site, and at 63rd
     Street and the Dan Ryan Expressway (Red Line) approximately 2.2 miles to the west of the site.

     Existing Traffic Volumes
     Existing traffic volumes were determined by manual traffic counts conducted in October 2014 during
     the weekday and Saturday midday peak periods (10:00 AM to 2:00 PM) at the following
     intersections:

            57th Street/Lake Shore Drive
            Midway Plaisance eastbound/Cornell Avenue
            63rd Street/Dan Ryan On and Off Ramps
            63rd Street/Stony Island Avenue
            Hayes Drive/Cornell Avenue
            65th Place/Cornell Avenue/Stony Island Avenue

     Intersection traffic counts include measuring the auto and bicycle traffic passing through each
     intersection as well as the number of pedestrians crossing each intersection approach in order to
     best represent existing operations. The weekday afternoon and Saturday peak periods were
     chosen since they coincide with the anticipated peak periods of the surrounding roadway system
     and the proposed development. The results indicate that the peak hour of existing traffic during the
     weekday midday peak occurred from 1:00 to 2:00 PM and the Saturday midday peak occurred from
     11:30 AM to 12:30 PM. It should be noted that typical peak hours of traffic on the surrounding
     roadways, generated by residential, institutional, and retail uses, are considerably higher than, and
     do not coincide with, the hours representing the OPL’s peak hours.

     Based on traffic count data retrieved from the IDOT website, the average daily traffic in the vicinity
     of the development is:
          9,000 vehicles on 63rd Street (year 2010)
          5,100 vehicles on Midway Plaisance eastbound (year 2010)
          19,400 vehicles on Cornell Avenue (year 2010)
          5,500 vehicles on Hayes (year 2010)

     The existing peak hour vehicle volumes are illustrated on Figure 3. Figure 4 depicts the pedestrian
     and bicycle volumes.




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     Existing Operations
     The effectiveness of an intersection’s operation is measured in terms of Level of Service (LOS),
     which is assigned a letter from A to F based on the average total delay experienced by each vehicle
     passing through an intersection. LOS A is the highest, representing the least delay, LOS E
     represents saturated or at-capacity conditions, and LOS F represents oversaturated conditions.
     The minimum intersection LOS that is generally accepted by industry standards is LOS D.

     An intersection capacity analysis was conducted to analyze the intersections for the weekday and
     Saturday midday peak hours using the methodologies outlined in the Highway Capacity Manual
     (HCM)1, using Synchro software for the analysis. The existing timings at the intersections were
     obtained from the Chicago Department of Transportation. The results in Table 1 show that all
     approaches at the study intersections operate at acceptable levels of services, at LOS C, or better.

     Table 1: Existing Intersection Level-of-Service
                                                                Weekday Midday           Saturday Midday
                Intersection/Peak Hour/Lane                         Peak Hour                Peak Hour
                                                              Delay A      LOS B        Delay       LOS
         63rd St at Yale Ave/Dan Ryan Ramps
           63rd St EB approach                                   34.9       C               32.6          C
           63rd St WB approach                                    8.8       A               15.3          B
           Yale Ave/Dan Ryan SB approach                         12.9       B               13.8          B
           Overall Intersection                                  19.9       B               19.3          B
         63rd St at Wentworth Ave/Dan Ryan Ramps
           63rd St EB approach                                   25.5       C               27.8          C
           63rd St WB approach                                   25.4       C               29.5          C
           Wentworth Ave NB approach                             14.7       B               15.0          B
           Overall Intersection                                  23.4       C               25.7          C
         63rd St at Stony Island Ave/Hayes Dr
           63rd St EB approach                                   28.5       C               28.5          C
           Hayes Dr WB approach                                  19.3       B               15.5          B
           Stony Island Ave NB approach                           1.6       A                2.2          A
           Stony Island Ave SB approach                           9.3       A                9.1          A
           Overall Intersection                                  13.2       B               12.1          B
         Hayes Dr at Cornell Ave
           Hayes Dr EB approach                                  16.1       B               15.6          B
           Hayes Dr WB approach                                  27.4       C               28.1          C
           Cornell Ave NB approach                               12.6       B               12.8          B
           Cornell Ave SB approach                                8.1       A                8.2          A
           Overall Intersection                                  14.0       B               14.0          B
         Stony Island Ave at Cornell Ave/65th Pl
           Stony Island Ave NB approach                          23.5       C               23.9          C
           Stony Island Ave SB approach                          32.3       C               32.3          C
           Cornell Ave WB approach                                4.1       A                3.7          A
           Overall Intersection                                  21.2       C               20.2          C
         Midway Plaisance (EB) at Cornell Ave
           Midway Plaisance EB approach                          31.6       C               29.6          C
           Cornell Ave NB approach                                4.6       A                3.8          A
           Cornell Ave SB approach                                7.6       A                7.8          A
           Overall Intersection                                  14.0       B                9.8          A




                                                           
     1
         Highway Capacity Manual, Transportation Research Board, National Research Council, Washington, D.C., 2010.


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         57th St at Lake Shore Dr
              th
           57 St EB approach                             27.4      C       27.8   C
           Lake Shore Dr NB approach                     14.2      B       15.1   B
           Lake Shore Dr SB approach                     17.3      B       16.6   B
           Overall Intersection                          18.6      B       18.7   B
     A
         Average control delay in seconds per vehicle.
     B
         Level of service.




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     FUTURE TRAFFIC CHARACTERISTICS

     This section of the report presents the traffic characteristics associated with the OPL Woodlawn site
     and evaluates the impact of future traffic on the area street system. This includes discussions
     regarding site development plans, site-generated traffic volumes and their distributions on the
     surrounding roadway network. Site access, site traffic assignment and future traffic volumes will also
     be discussed.

     Traffic Growth
     Construction and occupancy of the proposed OPL is currently expected to occur in seven years, by
     the year 2021. It is anticipated that this development would stimulate the redevelopment of the
     Woodlawn community, in particular along the 63rd Street and Stony Island Avenue corridors.
     Accordingly, in order to account for the general traffic growth associated with new development in the
     surrounding area as the proposed development is constructed, SSE applied an annual, compounded
     growth rate of 2% to existing traffic volumes along the 63rd Street and Stony Island Avenue corridors
     and 0.5% to the remaining study area roadways.

     2021 No-Build Conditions (without OPL)
     The 2021 No-Build peak hour traffic volumes were developed by applying the base 0.5 to 2 percent
     annual growth rate (approximately 3.6 to 14.9 percent over 7 years) to the existing traffic (Figure 3).
     The 2021 No-Build traffic-flow networks are graphically depicted on Figure 5.

     Proposed Development Plan
     The proposed development plan includes the construction of the Barack Obama Presidential
     Library. The building footprint is estimated at approximately 200,000 square feet. Its anticipated
     typical hours of operation are between 9:00 AM and 5:00 PM and closed on major holidays such as
     Thanksgiving, Christmas, and New Year’s Day. It is estimated that 800,000 visitors will come to the
     OPL each year, of which, approximately 350,000 are expected to be from outside the Chicagoland
     area. It is anticipated to be served by a minimum of 444 vehicular parking spaces on site. It will
     provide a dedicated bus area for drop-off/pick-up operations and storage for a minimum of 5 buses.

     Access to the Woodlawn site is anticipated via the intersection of Cornell Avenue (OPL Access) and
     Hayes Drive. Cornell Avenue will be vacated from Midway Plaisance (eastbound) to the north to
     Stony Island Avenue to the south. Vacating Cornell Avenue will not only potentially reduce the
     amount of asphalt within Jackson Park, but it will also significantly improve the safety within
     Jackson Park. The reassignment of 2021 No-Build traffic associated with the closure of Cornell
     Avenue is shown on Figure 6.




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     Site Access
     With the location of the Woodlawn site in close proximity to major roadways (Lake Shore Drive, Dan
     Ryan Expressway, and the Chicago Skyway), as well as to the Museum of Science and Industry, the
     University of Chicago Campus, Chicago’s lakefront, other cultural attractions, and public transportation,
     OPL visitors will use a variety of modes of transportation to access the site. All visitors arriving by
     automobile (personal or taxi) will enter and exit the site via the proposed OPL Access onto Hayes
     Drive, in the location of the vacated Cornell Avenue. Buses associated with student or other organized
     groups are planned to pick up and drop off OPL visitors using a dedicated bus area as close to the site
     as possible either within Jackson Park or curbside along Stony Island Avenue.

     Public transportation options such as the Metra Electric South Shore Line, CTA bus, and CTA rail
     provide access to the Woodlawn site. Metra Electric Line stations are located within two to three
     blocks of the site at 63rd Street and at 59th Street. CTA bus routes operate along Midway Plaisance,
     63rd Street, and Stony Island Avenue in close proximity to the site. CTA rail stations are located
     approximately 1 mile west of the site at 63rd Street and Cottage Grove Avenue (Green Line) and
     approximately 2.2 miles west of the site at 63rd Street and the Dan Ryan Expressway (Red Line).

     Based on data from other museums in the City of Chicago, travel time data, and availability of public
     transportation to the Woodlawn site, the mode of transportation distribution assumed for visitors to and
     from the proposed site is summarized in Table 2.

     Table 2: Mode of Transportation

                Mode             Percentage

      Car                            55%
      Walk                           10%
      Taxi                           10%
      Transit                        15%
      Tour / School Bus               9%
      Bike                            1%
      Total                          100%



     Trip Generation
     The amount of traffic generated by a development depends on the type and density of the land use
     being proposed. SSE estimated the trip generation for the proposed OPL based on visitor
     estimates provided by the University of Chicago, mode of transportation data in the site vicinity, and
     data from other museums in the City of Chicago and New York City.




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     SSE used the following assumptions to develop the trip generation for the OPL Woodlawn site:

             800,000 visitors
             Approximately 4,919 visitors would arrive on the 30th day (design day)
             Approximately 8,694 visitors would arrive on the peak day
             55% of the visitors would travel by car
             10% of the visitors would arrive by taxi
             9% of the visitors would arrive via a tour/school bus
             The average automobile occupancy would be 2.56 persons per vehicle
             The average bus occupancy would be 41 persons
             The average visitor time would be 2.5 hours

     Table 3 presents the estimated trip generation for the proposed Woodlawn site.

     Table 3: Estimated Trip Generation
                                     Weekday / Saturday
               Vehicle               Midday Peak Hour
                                    In       Out      Total
      Automobile (Car/Taxi)         225      219      444
      Bus                            2        2        4
      Total Development             227      221      448


     As shown in Table 3, during the weekday and Saturday midday peak hours, the development is
     expected to generate approximately 448 new vehicle trips (227 entering and 221 exiting).

     Directional Distribution
     The directional distribution of the site-generated traffic is a function of several variables, including
     the proposed land use, the adjacent roadway network and access, information from the University
     of Chicago, and engineering judgment. Accordingly, the anticipated origin and destination of the
     OPL visitors is summarized in Table 4.

     Table 4: Visitor Origin / Destination

         Origin / Destination            Percentage

      North Side (Chicago)                  8%
      Near West Side (Chicago)              4%
      Central (Chicago)                     30%
      South Side (Chicago)                  8%
      Other (Chicago)                       15%
      Outside Chicago City Limits           35%
      Total                                100%




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     The resulting expected directional distribution of site traffic for the proposed Woodlawn site is
     illustrated on Figure 7.

     Site Traffic Assignment
     Based on the direction of travel, the site-generated trips were assigned to the roadway network by
     utilizing the site estimated trips listed in Table 3 and the anticipated directional distribution outlined on
     Figure 7. The site traffic assignment is illustrated on Figure 8.

     2021 Build Traffic Assignment (with Presidential Library, Woodlawn site)
     The site-generated traffic volumes (Figure 8) were then added to the 2021 No-Build traffic volumes
     (Figure 5) and the reassignment of future traffic associated with the vacation of Cornell Avenue
     (Figure 6) to develop the 2021 Build traffic volumes. The total traffic volumes for the year 2021 are
     shown on Figure 9.

     Background Development (Master Plan) Traffic Growth
     Traffic growth would also be associated with the expected land developments in the study area.
     However, there are no known background developments in the study area. There are no “vested”
     trips to include in this analysis.




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     TRAFFIC ANALYSIS

     The following provides a discussion of the evaluation conducted of the weekday midday and
     Saturday midday peak hours to determine the impact of the proposed Barack Obama Presidential
     Library on the surrounding roadway system. These analyses include an examination of turn lane
     needs, traffic control improvements, functional capacity, parking demand, multi-modal assessment,
     and construction traffic management.

     Capacity Analysis
     Capacity analyses were conducted for assessing future traffic conditions of the weekday midday
     and Saturday midday peak hours, again using the methodologies outlined in the Highway Capacity
     Manual, using Synchro software. Summaries of the capacity analysis results indicating the LOS for
     all study intersections under future conditions are presented in Table 5 and are discussed below.

     Table 5: Future Level-of-Service Summary
                                                                 2014                  2021
                Intersection/Peak Hour/Lane                     Existing         Build (with OPL)
                                                         Delay A       LOS B   Delay         LOS
         63rd St at Yale Ave/Dan Ryan Ramps
           Weekday Midday Peak Hour
           63rd St EB approach                               34.9       C         33.2        C
           63rd St WB approach                                8.8       A          9.1        A
           Yale Ave/Dan Ryan SB approach                     12.9       B         14.7        B
           Overall Intersection                              19.9       B         19.7        B
          Saturday Midday Peak Hour
           63rd St EB approach                               32.6       C         27.2        C
           63rd St WB approach                               15.3       B         16.1        B
           Yale Ave/Dan Ryan SB approach                     13.8       B         18.3        B
           Overall Intersection                              19.3       B         19.9        B
         63rd St at Wentworth Ave/Dan Ryan Ramps
           Weekday Midday Peak Hour
           63rd St EB approach                               25.5       C         22.9        C
           63rd St WB approach                               25.4       C         32.7        C
           Wentworth Ave NB approach                         14.7       B         16.7        B
           Overall Intersection                              23.4       C         25.5        C
          Saturday Midday Peak Hour
           63rd St EB approach                               27.8       C         16.7        B
           63rd St WB approach                               29.5       C         33.3        C
           Wentworth Ave NB approach                         15.0       B         20.6        C
           Overall Intersection                              25.7       C         24.6        C
         63rd St at Stony Island Ave/Hayes Dr
           Weekday Midday Peak Hour
           63rd St EB approach                               28.5       C         30.1        C
           Hayes Dr WB approach                              19.3       B         23.5        C
           Stony Island Ave NB approach                       1.6       A         11.0        B
           Stony Island Ave SB approach                       9.3       A         11.4        B
           Overall Intersection                              13.2       B         16.5        B
          Saturday Midday Peak Hour
           63rd St EB approach                               28.5       C         29.9        C
           Hayes Dr WB approach                              15.5       B         26.7        C
           Stony Island Ave NB approach                       2.2       A         11.5        B
           Stony Island Ave SB approach                       9.1       A         12.0        B
           Overall Intersection                              12.1       B         17.3        B
     A
         Average control delay in seconds per vehicle.
     B
         Level of service.



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     Table 5: Future Level-of-Service Summary (cont.)
                                                                 2014                  2021
                Intersection/Peak Hour/Lane                     Existing         Build (with OPL)
                                                         Delay A       LOS B   Delay         LOS
         Hayes Dr at Cornell Ave
           Weekday Midday Peak Hour
           Hayes Dr EB approach                              16.1       B         11.6        B
           Hayes Dr WB approach                              27.4       C          9.8        A
           Cornell Ave NB approach                           12.6       B            --       --
           Cornell Ave SB approach                            8.1       A         34.6        C
           Overall Intersection                              14.0       B         15.9        B
          Saturday Midday Peak Hour
           Hayes Dr EB approach                              15.6       B         12.5        B
           Hayes Dr WB approach                              28.1       C         10.1        B
           Cornell Ave NB approach                           12.8       B            --       --
           Cornell Ave SB approach                            8.2       A         33.9        C
           Overall Intersection                              14.0       B         15.6        B
         Stony Island Ave at Cornell Ave/65th Pl
           Weekday Midday Peak Hour
           Stony Island Ave NB approach                      23.5       C          0.1        A
           Stony Island Ave SB approach                      32.3       C            --       --
           Cornell Ave WB approach                            4.1       A            --       --
           Overall Intersection                              21.2       C            --       --
          Saturday Midday Peak Hour
           Stony Island Ave NB approach                      23.9       C          0.1        A
           Stony Island Ave SB approach                      32.3       C            --       --
           Cornell Ave WB approach                            3.7       A            --       --
           Overall Intersection                              20.2       C            --       --
         Midway Plaisance (EB) at Cornell Ave
           Weekday Midday Peak Hour
           Midway Plaisance EB approach                      31.6       C            --       --
           Cornell Ave NB approach                            4.6       A            --       --
           Cornell Ave SB approach                            7.6       A            --       --
           Overall Intersection                              14.0       B            --       --
          Saturday Midday Peak Hour
           Midway Plaisance EB approach                      29.6       C            --       --
           Cornell Ave NB approach                            3.8       A            --       --
           Cornell Ave SB approach                            7.8       A            --       --
           Overall Intersection                               9.8       A            --       --
         57th St at Lake Shore Dr
           Weekday Midday Peak Hour
           57th St EB approach                               27.4       C         34.0        C
           Lake Shore Dr NB approach                         14.2       B         10.6        B
           Lake Shore Dr SB approach                         17.3       B         18.1        B
           Overall Intersection                              18.6       B         18.1        B
          Saturday Midday Peak Hour
           57th St EB approach                               27.8       C         34.0        C
           Lake Shore Dr NB approach                         15.1       B         11.8        B
           Lake Shore Dr SB approach                         16.6       B         18.7        B
           Overall Intersection                              18.7       B         18.5        B
     A
         Average control delay in seconds per vehicle.
     B
         Level of service.

     As shown in Table 5, all existing study intersections are expected to continue to operate at
     acceptable levels of service upon the construction of the proposed Woodlawn site, assuming the
     traffic control and geometric improvements as described below in the Intersection
     Recommendations section of this report are implemented. The proposed geometric and traffic
     control signal improvements are adequate to accommodate future and Woodlawn site traffic.



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     Intersection Recommendations
     The recommendations for intersections are summarized as follows:

            Vacate Cornell Avenue from Midway Plaisance eastbound to Stony Island Avenue. With the
             closure of Cornell Avenue south of Midway Plaisance eastbound, Cornell Avenue should
             become a one-way northbound street between the Midway Plaisance eastbound and
             westbound intersections. This will also necessitate the removal of the traffic control signal at
             this intersection.
            The closure of Cornell Avenue at the Stony Island Avenue/65th Place intersection would also
             necessitate the removal of the traffic control signal at this intersection. The crosswalk
             provided on the north leg of this intersection, across Stony Island Avenue, should also be
             removed. Pedestrians have the opportunity to safely cross Stony Island Avenue at its
             signalized intersection with Marquette Road, one block (approximately 325 feet) south of
             65th Place, as well as two blocks (approximately 900 feet) north of 65th Place at its all-way
             stop-controlled intersection with 64th Street.
            The intersection of 63rd Street at Hayes Drive and OPL Access should be modified to
             provide one through lane with shared turning maneuvers on all three approaches. The
             westbound accepting lane of this intersection should maintain two lanes to provide
             appropriate capacity/operations at the adjacent signalized intersection with Stony Island
             Avenue. The intersection should continue to operate under traffic signal control, as it
             satisfies the Manual of Uniform Traffic Control Devices peak hour warrant (warrant 3). The
             traffic control signal equipment should be redesigned to accommodate the modified
             intersection geometrics, along with a new signal timing plan implemented.
            Minor traffic signal timing modifications should be implemented at the intersections of 63rd
             Street at Yale Avenue (Dan Ryan Expressway On and Off Ramps), Wentworth Avenue (Dan
             Ryan Expressway On Ramp), and at Stony Island Avenue to provide optimal operations and
             to facilitate traffic to and from the OPL. Additional traffic control signals along the 63rd Street
             and Stony Island Avenue corridors may also require minor signal adjustments. The 2021
             total traffic volumes can be adequately accommodated within the existing signal timings at
             the Lake Shore Drive and 57th Street intersection.

     Access Recommendations
     Access must be provided for service vehicles and to provide secure access. This can be provided
     from either Stony Island Avenue or the vacated Cornell Avenue, depending on the final design of
     the building. A transportation security plan will be developed to ensure safe and secure travel for
     VIPs and to minimize the operations of area traffic.

     Wayfinding Recommendations
     Due to the expected amount of visitors from outside the Hyde Park neighborhood, a considerable
     amount of wayfinding should be provided. This includes signs on the Dan Ryan Expressway and
     Lake Shore Drive, and on local streets directing vehicles to parking. It should be very clear to
     drivers where they are going. It is suggested that any existing wayfinding signs on the Dan Ryan




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     Expressway and Lake Shore Drive that identify the University of Chicago be modified to include the
     Library.




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     VEHICLE AND TOUR BUS PARKING ANALYSIS

     Existing Parking Conditions
     SSE conducted parking utilization counts on a typical weekday and weekend within the study area
     to understand the availability of on-street parking. The counts were conducted in the following
     study area:
          Hayes Drive, between Cornell Avenue and Lake Shore Drive
          67th Street, between Jeffery Boulevard and Cornell Avenue
          Stony Island Avenue, between 57th Street and 67th Street
          Richards Drive, between Hayes Drive and Marquette Road

     All of the parking surveyed is free parking. There are approximately 602 on-street spaces in this
     overall area.

     Based on the surveys conducted by SSE, the utilization of on-street parking in the study area on a
     weekday is approximately 37% and on a Saturday is approximately 30%. There is a considerable
     amount of on-street parking available.

     There are a number of off-street parking lots in the area of the site, including:
         University of Chicago surface parking lots
         Museum of Science and Industry
         Apostolic Church of God

     Estimated Parking Demand
     In order to estimate the parking demand generated by the site, SSE gathered historical data from
     other museums in Chicago to understand the modal split and utilized daily and hourly distribution
     information from traffic studies conducted for the World Trade Center Memorial & Museum and the
     Chicago Children’s Museum.

     Parking is typically designed to accommodate the 30th most popular day of a facility and it is our
     recommendation that the OPL site be designed to accommodate this demand. Designing a parking
     facility for the peak day means that for 364 days of the year, there will be excess parking that is
     unused. Designing the parking at the Woodlawn site to meet the demand of the 30th most popular
     day will ensure that visitors have an excellent experience accessing the site and that costs and land
     are used in the most efficient manner.

     SSE used the following assumptions to develop the parking demand:
        800,000 visitors
        Approximately 4,919 visitors would arrive on the 30th day (design day)
        Approximately 8,694 visitors would arrive on the peak day
        55% of visitors would travel by car



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     Estimated Tour Bus Demand and Recommendations
     In order to estimate the tour bus demand generated by the site, SSE utilized the same data from
     the parking demand study.

     SSE used the following assumptions to develop the parking demand:
        800,000 visitors
        Approximately 4,919 visitors would arrive on the 30th day (design day)
        Approximately 8,694 visitors would arrive on the peak day
        9% of visitors would travel by car
        The average bus occupancy would be 41 persons per vehicle
        The average visitor time would be 2.5 hours

     This would require 5 bus parking spaces for the design day and 9 bus parking spaces for the peak
     day.

     It is recommended that buses drop off and pick up as close to the site as possible, either curbside
     on Stony Island Avenue or within Jackson Park. There is ample space on-street on Stony Island
     Avenue and 60th Street to accomplish this if it cannot be completed on the site itself. It is
     recommended that buses be staged on one of the surface lots owned by the University of Chicago
     in the area or the Apostolic Church of God.




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     MULTI-MODAL ASSESSMENT AND RECOMMENDATIONS

     As discussed earlier, the Woodlawn site has adequate transit access. Three CTA bus routes (#6,
     #15, and #28) run adjacent to the site on Stony Island Avenue. It is located approximately ¼ mile
     walk from the 59th Street Metra Electric Line. The closest CTA rail station is the East 63rd – Cottage
     Grove Green Line station, which is over a mile away. Sidewalks are provided on Stony Island
     Avenue and 63rd Street. The Lakefront Trail is to the east of the site.

     The following recommendations will enhance the multi-modal safety and connectivity for all users
     and make transit, walking, or biking to the site a much more attractive option, reducing the traffic
     impact on the adjacent neighborhoods.

     Transit Connectivity and Operations
     The 59th Street Metra station should be renamed 59th Street – Obama Library. The station should
     be improved as a front door to the OPL, similar to the Metra Electric stations located to the north
     serving the Hyde Park neighborhood and the University of Chicago. Wayfinding should be provided
     to guide visitors to the site.

     The intersection of 60th Street /Stony Island Avenue should be modified to provide more safety and
     priority for visitors arriving by transit. This includes reducing the turning radius on to Stony Island
     Avenue, providing ADA-compliant curb ramps, bumpouts, and leading pedestrian intervals.

     A Divvy bikeshare station should be added to provide more convenient access to the Library.

     Pedestrian Safety and Connectivity
     Consideration should be given to developing a streetscape for 63rd Street between Cottage Grove
     Avenue and the OPL.

     The streets within Jackson Park were originally constructed to allow two horse and buggies to pass
     one another. This resulted in wide streets that now encourage vehicles to speed through the park
     and make it difficult for pedestrians to access and traverse different parts of the park. A roundabout
     should be considered at the intersection of Hayes Drive and Richards Drive. Additional traffic
     calming measures, such as speed humps, chicanes, and signage should be installed within the
     Park streets. Safe pedestrian crossings should be installed at the Hayes Drive and Richards Drive
     and the Marquette Drive and Richards Drive intersections. They may include underpasses, stop
     control, or speed tables, similar to other pedestrian crossings within the city of Chicago.

     Bicycle Safety and Connectivity
     The Lakefront Trail is the crown jewel of Chicago’s bicycle network. It is recommended that a
     shared use path be designated within Jackson Park that connects the Lakefront Trail to the OPL.
     This should connect to the future bicycle facility on Stony Island Avenue. Signage should be
     provided to direct bicyclists to the park trail and the OPL.




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     CONSTRUCTION TRAFFIC MANAGEMENT

     Stony Island Avenue should not be used for construction access. Cornell Drive should be closed
     during construction. The construction entrance to the sites should be provided on Hayes Drive at
     Cornell Avenue. Construction employees should use Stony Island Avenue and Cornell Drive for
     parking.




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     CONCLUSION

     Analyses have been conducted under existing and future conditions of the intersections in the study
     area to determine the impact from the proposed Barack Obama Presidential Library (OPL)
     Woodlawn site. The capacity analysis results indicate that the implementation of geometric and
     signal improvements will permit the surrounding roadways to operate at acceptable levels of service
     under all design hours to accommodate the increase in projected traffic from OPL-generated traffic
     and general traffic growth associated with new development in the surrounding area. Overall,
     vehicles will be able to easily access the site and the OPL will not have a significant impact on the
     traffic operations in the neighborhoods.

     The following details the recommendations for parking, access, and improvements to the safety and
     operations of multi-modal access.

            The intersection of Cornell Avenue (OPL Access) and Hayes Drive provides an ideal access
             point for vehicular traffic. Under this scenario, the OPL Access should be terminated before
             it reaches Midway Plaisance. The new design of the OPL Access should provide one lane
             of travel in each direction and be 24 feet in width. Cornell Avenue is currently used as a
             bypass of Lake Shore Drive for local traffic and does not fit within the Chicago grid. It has
             moderately low traffic volumes and very high speeds. Vacating Cornell Avenue will not only
             potentially reduce the amount of asphalt within Jackson Park, but it will also significantly
             improve the safety within Jackson Park.

            With the closure of Cornell Avenue south of Midway Plaisance eastbound, Cornell Avenue
             should become one-way northbound between the Midway Plaisance eastbound and
             westbound intersections and the traffic control signal removed at the Midway Plaisance
             eastbound intersection. This will reduce the amount of pavement within Jackson Park and
             provide safety improvements. The closure of Cornell Avenue will also necessitate the
             removal of the traffic control signal and geometric modifications at Stony Island Avenue/65th
             Place.

            Minor traffic signal timing/phasing modifications should be implemented at the study area
             intersections, as appropriate, to provide optimal operations and to facilitate traffic to and
             from the OPL.

            Prohibiting access on Stony Island Avenue will allow for an excellent pedestrian experience
             along the corridor and improve operations of through traffic on Stony Island Avenue.

            Service access and secure access can be provided from Stony Island Avenue or Cornell
             Avenue.

            It is estimated that the site will generate a peak parking demand of 444 vehicular parking
             spaces on the 30th most popular day (typical design day). It is recommended that all parking
             be provided within the site.



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            There are a number of options to accommodate any overflow parking for special events,
             including the Museum of Science and Industry, surface lots owned by the University of
             Chicago in the area, and the Apostolic Church of God. There is also on-street parking in the
             area.

            It is estimated that the site will generate a peak bus demand of 5 buses on the 30th most
             popular day (typical design day). It is recommended that buses be staged on one of the
             surface lots owned by the University of Chicago in the area or the Apostolic Church of God.

            A staff member should be given the responsibility of coordinating all transportation,
             particularly for special events.

            The 59th Street Metra station should be renamed 59th Street – Obama Library. The station
             should be improved as a front door to the library, similar to the Metra Electric stations
             located to the north serving the Hyde Park neighborhood and the University of Chicago.
             Wayfinding should be provided to guide visitors to the site.

            The streets within the park were originally designed to allow horse and buggies to easily
             traverse through them. This design provided excess space for modern vehicles, which has
             led to vehicles using these streets to speed through the park. The following are the
             recommended geometrics for each internal street:

                 o   Richards Drive, between Marquette Drive and Hayes Drive: Reduce lane width to
                     10.5 feet and provide parking on both sides of the street. This would reduce the
                     street by 5 feet in width and remove approximately 0.15 acres of asphalt. The
                     “ramps” to Richards Drive from Marquette Drive should be removed and a standard
                     T-intersection should be installed.

                 o   Marquette Drive, between Stony Island Avenue and South Shore Drive: Reduce
                     lane width to 10.5 feet and provide parking on both sides of the street. This would
                     reduce the street by 5 feet in width and remove approximately 0.35 acres of asphalt.

                 o   Hayes Drive, between OPL Access and South Shore Drive: Reduce lane width to
                     10.5 feet and provide parking on both sides of the street. This would reduce the
                     street by 13 feet in width and remove approximately 0.80 acres of asphalt. The
                     intersection of Hayes Drive and Richards Drive should be converted to a standard
                     roundabout.

            Consideration should be given to developing a streetscape for 63rd Street between the
             Cottage Grove Avenue and the OPL.

            The intersection of 60th Street/Stony Island Avenue should be modified to provide more
             safety and priority for pedestrians. This includes reducing the turning radius on to Stony
             Island Avenue, providing ADA-compliant curb ramps, bumpouts, and leading pedestrian
             intervals.




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            The Lakefront Trail is the crown jewel of Chicago’s bicycle network. It is recommended that
             a shared use path be designated within Jackson Park that connects the Lakefront Trail to
             the OPL. This should connect to the future bicycle facility on Stony Island Avenue.




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APPENDIX – MULTI-MODAL EXHIBITS
     Existing Transit
     Existing Bicycle Infrastructure
     Travel Times to Site
     Multi-modal Recommendations
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